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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- ---------x
                                                                  :
AUBREY DRAKE GRAHAM,
                                                                  :
                                   Plaintiff,
                                                                  : Civil Action No. _____
                             v.
                                                                  :
                                                                    Jury Trial Demanded
UMG RECORDINGS, INC.,
                                                                  :
                                   Defendant.
                                                                  :

                                                                      :
    -------------------------------------------------------- ---------x

                                                   COMPLAINT

           Plaintiff Aubrey Drake Graham (“Drake” or “Plaintiff”), through his attorneys, brings this

Complaint against Defendant UMG Recordings, Inc. (“Defendant” or “UMG”).1

                                                 INTRODUCTION

“A single lie can destroy a reputation of integrity and . . . while it takes years to build a
reputation, it can be ruined in five minutes.”
                             – Sir Lucian Grainge, Chief Executive Officer of UMG, March 25, 2024

           1.       In the middle of the night on May 7, 2024, an armed group of assailants drove up

to the Toronto house in which Drake and his family resided. Drake was inside. The car stopped

in front of the residence, someone yelled “Fuck Drake,” and at least one gunman began to open

fire. One bullet went through the security gate and hit Drake’s front door; another bullet struck

and wounded a security guard, who was also one of Drake’s friends. While the car drove away,

Drake and others in the house summoned help for the security guard and did everything possible

to keep him alive. During the nearly thirty minutes it took for the ambulance to arrive, Drake and


1
 Throughout, references to UMG shall include any UMG employee, affiliate, agent, and anyone working on UMG’s
behalf.


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others labored to keep the man alive by applying pressure to the gunshot wound with towels. Blood

was everywhere.

        2.      After the security guard arrived at the hospital, surgeons worked quickly to remove

the bullet, stop the bleeding, and save his life. Though it took days for his condition to stabilize,

thankfully, the security guard survived.

        3.      The very next day, May 8, 2024, a different intruder used his bare hands to dig a

hole under the security fence surrounding Drake’s Toronto house. He managed to dig deep enough

to squeeze through and enter Drake’s property. Fortunately, Drake’s home security guards caught

him before he was able to cause any physical harm, although the trespasser managed to yell racist

slurs and threats against Drake before being escorted off the property.

        4.      On May 9, 2024, the very next day, another break-in attempt happened.

        5.      In the two decades leading up to May of 2024, although Drake was constantly in

the public eye, nothing remotely like these events had ever happened to him or his family. But

these events were not coincidental. They immediately followed, and were proximately caused by,

UMG’s actions leading up to and on May 4, 2024.

        6.      UMG is the “world’s largest music company,”2 and also the music company that

has represented Drake for more than a decade. Yet, on May 4, 2024, UMG approved, published,

and launched a campaign to create a viral hit out of a rap track that falsely accuses Drake of being

a pedophile and calls for violent retribution against him. Even though UMG enriched itself and

its shareholders by exploiting Drake’s music for years, and knew that the salacious allegations

against Drake were false, UMG chose corporate greed over the safety and well-being of its artists.




2
  Amended Complaint ¶ 16, UMG Recordings, Inc. v. OpenDeal Inc., No. 21-cv-09358 (S.D.N.Y. Aug. 26, 2022),
ECF No. 64.



                                                    2
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In controversy, UMG saw an opportunity, seized it, and continued to fan the flames even after

learning of the incitement to violence on May 7 and 8, along with the unrelenting vitriol towards

Drake that has followed.

           7.      The song in question is “Not Like Us” (the “Recording”) written and performed by

Kendrick Lamar Duckworth (professionally known as Kendrick Lamar).3 The Recording was

intended to convey the specific, unmistakable, and false factual allegation that Drake is a criminal

pedophile, and to suggest that the public should resort to vigilante justice in response. The

Recording is defamatory because its lyrics, its album image (the “Image”), and its music video

(the “Video”) all advance the false and malicious narrative that Drake is a pedophile. The lyrics

repeatedly accuse Drake of engaging in criminal acts, including by calling him a “certified

pedophile[]” and a “predator” who needs to be “placed on neighborhood watch.”4 The Image was

designed to reinforce, and in fact reinforces, that accusation by depicting Drake’s actual Toronto

house covered in the icons that are known to be used by law enforcement (as well as public safety

applications like Citizen) to identify child sex offenders’ residences online. The Video bolsters

the same message by, for example, showing images associated with sex trafficking and juxtaposing

the game of hopscotch with lyrics accusing Drake of “Tryna strike a chord and it’s probably A-

Minor.”5

           8.      This lawsuit is not about the artist who created “Not Like Us.” It is, instead, entirely

about UMG, the music company that decided to publish, promote, exploit, and monetize


3
  Not Like Us (Interscope Records 2024) [hereinafter “Recording”]. The full lyrics of the Recording are attached
hereto as Exhibit A. The Recording was first made available for streaming on YouTube. See Kendrick Lamar
(@kendricklamar), Not Like Us, YouTube (May 4, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew
[https://perma.cc/6BL5-RGJY].
4
    Recording at 00:57-01:00, 02:11-02:15.
5
   Not Like Us at 01:43-01:50, YouTube (July 4, 2024), https://www.youtube.com/watch?v=H58vbez_m4E
[https://perma.cc/BZ9F-S9PH] [hereinafter the “Video”].



                                                       3
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allegations that it understood were not only false, but dangerous. As UMG knows and has known

at all relevant times, the Recording, Image, and Video’s allegations are unequivocally false. Drake

is not a pedophile. Drake has never engaged in any acts that would require he be “placed on

neighborhood watch.” Drake has never engaged in sexual relations with a minor. Drake has never

been charged with, or convicted of, any criminal acts whatsoever.

           9.       Notwithstanding its knowledge that the allegations are fabricated, starting in May

of 2024, UMG waged an unrelenting campaign to spread the Recording, Image, and Video

(together, the “Defamatory Material”) as widely as possible. UMG did so because it understood

that the Recording’s inflammatory and shocking allegations were a gold mine. Spreading the

Defamatory Material served multiple business purposes for UMG. First, the more people who

listened to, streamed, watched, and downloaded the Defamatory Material, the more money UMG

and its executives would make. Second, UMG’s Interscope Records (“Interscope”) owns Lamar’s

entire back catalog of recorded music. The leadership of Interscope had every incentive to prove

it could maximize Lamar’s sales after only recently persuading him to enter into his own direct

license for a limited recording commitment of new music. Third, (in contrast with Lamar’s first

direct deal), UMG’s contract with Drake was nearing fulfillment, and on information and belief,

UMG anticipated that extending Drake’s contract would be costly. By devaluing Drake’s music

and brand, UMG would gain leverage to force Drake to sign a new deal on terms more favorable

to UMG.

           10.      UMG’s campaign was successful. The Recording cloaks cleverly dangerous lyrics

behind a catchy beat and inviting hook. Capitalizing on those attributes, UMG used every tool at

its disposal to ensure that the world would hear that Drake “like ‘em young.”6 The Defamatory


6
    Recording, supra note 3, at 00:40-00:42.



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Material has been played billions of times, and its false central message has gone viral via social

and legacy media channels in dozens of languages to (at minimum) hundreds of millions of people

spanning the globe. It is not just fans of rap music who now believe that Drake is a “certified

pedophile[].” The Recording has become ubiquitous. UMG used its promotional resources and

exclusive licensing rights to place the Recording on numerous nationally televised events,

including but not limited to awards shows, national political events, and more.

           11.      But billions of plays and ubiquity were not enough for UMG. Over the course of

the last several months, UMG has made significant financial investments and leveraged its

professional connections, via sophisticated and highly-organized publicity campaigns, to arrange

for the Recording to be performed at one of the most significant (and viewed) cultural events of

the year—the Super Bowl.

           12.      UMG is legally responsible for the release, publication,7 and promotion of the

Defamatory Material, including the foreseeable consequences of the same. UMG’s business is to

“possess the exclusive rights” to reproduce, to distribute, and to license music, “including over the

[i]nternet.”8 In other words, it is only with UMG’s explicit approval that the Defamatory Material

could have been released in the first instance and later streamed, shared, performed publicly, and

exploited by content creators on TikTok and Instagram.

           13.      UMG’s campaign went well beyond the traditional music company playbook—

indeed, UMG has unleashed every weapon in its arsenal, including, on information and belief,




7
  Throughout, this filing uses the terms “publish” and “publication” as understood within the defamation context. See
PUBLISH, Black’s Law Dictionary (12th ed. 2024) (“1. To distribute copies (of a work) to the public. 2. To
communicate (defamatory words) to someone other than the person defamed”). In the context of the music industry,
these terms have a different meaning, which is not intended here.
8
    Complaint ¶ 15, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-cv-60914 (S.D. Fla. Apr. 28, 2021).



                                                          5
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certain practices that are unlawful.9 In a memorandum to staff reflecting on highlights of 2021,

Sir Lucian Grainge remarked that it was “harder than ever for artists to break through the noise”

as, for example, “sixty thousand songs are added to Spotify every day.” UMG made sure that “Not

Like Us” broke through that noise. For one, UMG took the unprecedented step—contrary to its

internal practices—to remove the Recording’s copyright restrictions on YouTube and Twitch,

thereby “whitelisting” the Recording to ensure content creators would republish it broadly. On

information and belief, UMG and its agents further put a thumb on the scale by covertly offering

financial incentives to third parties to deceptively stream the Recording on streaming platforms,

to play the Recording on the radio, and to otherwise promote and endorse the Defamatory Material,

all without ever publicly disclosing the payments. These actions not only spread and further

engrained the defamatory statements in the minds of the public, but deceived consumers and

harmed Drake economically.

        14.      Predictably, millions of people who listened to the Recording, or saw the Image

and Video, believed the Defamatory Material to be true. UMG had previously published Lamar’s

song “Euphoria,” which was also widely understood to be targeted at Drake, and which stated,

“don’t tell no lie about me and I won’t tell truths ‘bout you.” As voluminous public commentary

confirms, the average listener or viewer has understood the Defamatory Material to reflect “the

truth,” rather than art or hyperbole. In the words of one commentator, now “everybody believe[s]”

that Drake loves “touching children.”




9
  Drake previously initiated two pre-litigation actions against UMG in State court in New York and Texas to
investigate allegations that UMG engaged in a deliberate and inappropriate strategy of paying third parties to
artificially inflate the Recording’s metrics, a practice known as “payola” and which is prohibited by the
Communications Act of 1934 as well as other causes of action. See Verified Petition, In the Matter of the Application
of, FROZEN MOMENTS, LLC et al., Docket No. 161023/2024 (N.Y. Sup. Ct. Nov. 25, 2024); Verified Petition for
Rule 202 Depositions, In Re: Aubrey Drake Graham, Docket No. 2024-CI-26782 (Tex. Dist. Ct. Nov. 25, 2024).



                                                         6
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         15.   UMG’s greed yielded real world consequences. As described above, it was just

three days after UMG originally published the Recording and Image that Drake was targeted at his

Toronto house by armed intruders in the 2024 equivalent of “Pizzagate.” The online response was

similarly violent and hateful. An avalanche of online hate speech has branded Drake as a sex

offender and pedophile, among other epithets. Public commentary has repeated the (false) claims

that Drake is a “pedo” and “sexual abuser on the level of Weinstein, Diddy, and Epstein” who

“traffic[]s children” in shipping containers and harbors convicted “sex offenders” in his Toronto

home. In direct response to UMG’s publications, social media users called for the Federal Bureau

of Investigation (FBI) to “to come at this point” and for Drake to be “locked up” and “behind

bars.”

         16.   The mob-like response to the Recording continues to unfold on- and off-line.

Recently, flyers were plastered all over Toronto with a photo of Drake and a Canadian YouTuber

who was sentenced to three years in prison for sexual assault with the words “Canadian sex

predators gotta stick together.”




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           17.   With the palpable physical threat to Drake’s safety and the bombardment of online

harassment, Drake fears for the safety and security of himself, his family, and his friends. After

the attacks on his home, Drake pulled his son out of the elementary school he attended in Toronto

due to safety concerns, and once school ended for the summer, Drake arranged for his son and

mother to leave Toronto entirely. Day to day, Drake continues to take steps to address persistent

threats to his security.

           18.   The violence and vitriol directed at Drake was foreseeable. The Recording falsely

accuses Drake of one of the most vile behaviors imaginable, and explicitly calls for retaliatory

violence and retribution against him. The false “pedophile” accusation is a devastatingly effective

method of assassinating someone’s character online. When spread virally, the accusation can

destroy an individual’s reputation and brand in a matter of days. As one expert on conspiracy

theories has explained: “There’s always been a certain amount of salaciousness in these conspiracy

theories . . . [a]nd if it involves children, people immediately just lose their mind — even if these

children don’t exist.”10 If “you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”11

           19.   UMG understands just how dangerous these kinds of false allegations are—indeed,

when it comes to allegations against UMG and its executives, they have not hesitated to take legal

action against their accusers. Just last year, UMG and Sir Grainge were accused, in their words,

without “the slightest factual basis,” of aiding and abetting Sean “P. Diddy” Combs in criminal




10
   Catherine Kim, Pizzagate, QAnon and the ‘Epstein List’: Why the Far Right Is Obsessed with Sex Trafficking,
Politico (Jan. 9, 2024), https://www.politico.com/news/magazine/2024/01/09/why-maga-is-obsessed-with-jeffrey-
epstein-00134394
[https://web.archive.org/web/20241209003125/https://www.politico.com/news/magazine/2024/01/09/why-maga-is-
obsessed-with-jeffrey-epstein-00134394].
11
     Id.



                                                      8
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sexual acts.12 Moving to dismiss the complaint against them, UMG and Sir Grainge argued that

the accusations were “offensively false allegations of criminal behavior” that would be

“libelous per se” if not contained within a legal filing.13 Sir Grainge called the allegations against

him “knowingly and maliciously false and defamatory.”14 Sir Grainge also explained that “a

single lie can destroy a reputation of integrity and . . . while it takes years to build a reputation,

it can be ruined in five minutes.”15 Thus, recognizing that false allegations against him might

interfere with his efforts “to lead an honorable personal and professional life,”16 Sir Grainge

promised to “pursue those who have made these outrageous allegations against [him].”17

            20.      In stark contrast, when Drake confronted UMG about its role in promoting

allegations of sexual misconduct lacking “the slightest factual basis” against him, UMG refused

to do anything to help. Instead, UMG continued to republish and promote the Defamatory

Material, even after Drake had unequivocally denied the allegations in public and had

communicated that in private to UMG. Drake informed UMG of the tangible harm that the

publication and promotion of the Recording had caused him—including violence, threats,

reputational and financial damage, and more. Yet UMG still chose money over the safety and




12
  Declaration of Donald S. Zakarin in Support of Motion to Dismiss the First Amended Complaint ¶ 3, Jones v.
Combs, No. 1:24-cv-01457 (S.D.N.Y. Mar. 27, 2024), ECF No. 26.
13
     Id. ¶¶ 18, 31, 66.
14
   Declaration of Sir Lucian Grainge in Support of Motion to Dismiss ¶ 24, Jones v. Combs, No. 1:24-cv-01457
(S.D.N.Y. Mar. 27, 2024), ECF No. 26-1.
15
     Id. (emphasis added).
16
     Id. ¶ 23.
17
     Id. ¶ 15.



                                                     9
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well-being of its artists, notwithstanding its public commitment to “behaving honorably and with

honesty,” and “setting the right tone—in all that we do.”18

            21.      Many months prior to filing this litigation, Drake attempted to address these claims

privately with UMG. Drake believed, per Sir Grainge, that UMG’s leadership should be held

“accountable for the decisions we make and how we conduct ourselves.”19 And UMG purports to

care about threatening and abusive behavior—indeed, UMG’s Code of Conduct notes that

“[h]arassment can take different forms, such as . . . speech that is threatening or abusive,” and

declares that “violence, threats and physical intimidation are not tolerated at Universal Music”

because “[w]e all share the responsibility to make health and safety a constant priority.”20 Yet, in

response to Drake’s concerns, UMG responded that Drake would face humiliation if he brought

legal action—presuming that the public would be unable to understand UMG’s role in exploiting

and profiting from this dispute. UMG’s posture, as the “world’s largest music company,” was that

it is untouchable.

            22.      UMG’s response to Drake was especially perverse given that it is perfectly willing

to sue to protect its own interests when it believes that doing so will protect its “property.”21 UMG

is “engaged in the business of acquiring, administering, licensing, exploiting and otherwise



18
     Universal Music Group, Our Code of Conduct: Setting the Right Tone, at 2 (2021),
https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/2021-UMG-Code-of-Conduct.pdf
[https://web.archive.org/web/20231113085616/https://dn8hzp56erqjx.cloudfront.net/pdf/pdf/2021-UMG-Code-of-
Conduct.pdf].
19
     Id.
20
     Id. at 10-11.
21
  By way of example: in 2022, UMG sued OpenDeal, Inc. for trademark infringement, among other claims, UMG
Recordings, Inc. v. OpenDeal Inc., No. 1:21-cv-09358 (S.D.N.Y. Nov. 12, 2021); in 2021, UMG sued Bang Energy
for the unlicensed used of its songs in TikTok videos, UMG Recordings, Inc. v. Vital Pharms., Inc, No. 21-cv-60914
(S.D. Fla. Apr. 28, 2021); in 2017, UMG sued Grande Communications Networks for infringement and copyright
violations, UMG Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-00365 (W.D. Tex. Apr.
21, 2017); in 2011, UMG sued Escape Media Group, Inc. for copyright infringement, UMG Recording, Inc. v. Escape
Media Group, Inc., No. 1:11-cv-08407 (S.D.N.Y. Nov. 18, 2011).



                                                       10
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monetizing”22 the music of its artists, including Drake, and it does not hesitate to file lawsuits when

doing so suits its financial interests. This lawsuit is both necessary and appropriate because UMG

has repeatedly defamed Drake while “exploiting” and “monetizing” his work.

           23.      With his own record label having waged a campaign against him, and refusing to

address this as a business matter, Drake has been left with no choice but to seek legal redress

against UMG. UMG may spin this Complaint as a rap beef gone legal, but this lawsuit is not about

a war of words between artists. This lawsuit involves no claims against Kendrick Lamar or any

other artist; instead, it is about UMG—the publisher and exclusive rights holder of Lamar’s music,

as well as Drake’s—and its malicious decision to publish and promote, through covert means,

false allegations about Drake that UMG knew were false, explosive, inflammatory, and certain to

result in both vitriol and substantial harm to Drake’s reputation.

           24.      Notwithstanding a relationship spanning more than a decade, UMG intentionally

sought to turn Drake into a pariah, a target for harassment, or worse. UMG did so not because it

believes any of these false claims to be true, but instead because it would profit from damaging

Drake’s reputation. Drake thus brings this action to hold UMG responsible for the actual and

foreseeable harm he has suffered, and will continue to suffer, because of UMG’s choice to elevate

profits over the well-being of its artists and the music-consuming public.

                                                     PARTIES

           25.      Plaintiff Aubrey Drake Graham, a/k/a Drake, is a rapper, singer, songwriter,

actor, entrepreneur, and philanthropist. Drake is a citizen of Texas.

           26.      Defendant UMG Recordings, Inc. is a wholly owned subsidiary of Universal

Music Group N.V. (together with UMG, “Universal Music”), a public company formed under the


22
     Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr. 28, 2021).



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laws of the Netherlands. UMG is a Delaware corporation with its headquarters in California, and

thus it is a citizen of Delaware and California. UMG is registered to do business in New York and

maintains an office in New York City at 1755 Broadway, New York, New York 10019. Indeed,

several of UMG’s record label divisions are headquartered in New York.23 Universal Music touts

itself as “the world leader in music-based entertainment” which “produce[s], distribute[s] and

promote[s] the most critically acclaimed and commercially successful music to delight and

entertain fans around the world.”24 UMG has recording contracts with some of the world’s biggest

music stars, including Taylor Swift, Ariana Grande, Adele, and, relevant here, Drake and Kendrick

Lamar. Drake has been signed under exclusive recording contracts controlled by UMG since 2009,

which provide UMG with the exclusive right to license, sell, and promote his recordings.25 UMG

is engaged in the business of exploiting “recorded music, music publishing, merchandising, and

audiovisual content,”26 including through Republic Records (“Republic”), Capitol Records

(“Capitol”) and Interscope, all of which are wholly owned divisions of UMG. As of 2024,

Kendrick Lamar releases music from his independent label through an exclusive direct licensing

agreement with UMG through Interscope. Universal Music also operates Universal Music

Publishing Group (“UMPG”) as its music publishing and distribution arm. Both Drake and

Kendrick Lamar’s music publishing rights are exclusively controlled by UMPG under songwriter

agreements.




23
  Complaint ¶ 7, UMG Recording, Inc. v. Escape Media Group, Inc., No. 1:11-cv-08407 (S.D.N.Y. Nov. 18, 2011).
24
       Overview,     Universal   Music      Group,     https://www.universalmusic.com/company/#organization
[https://perma.cc/D2JD-YJPD].
25
   See Mariel Concepcion, Drake Signs To Young Money, Distribution By Universal Republic, Billboard (June 20,
2009),        https://www.billboard.com/music/music-news/drake-signs-to-young-money-distribution-by-universal-
republic-268244/           [https://web.archive.org/web/20250114212221/https:/www.billboard.com/music/music-
news/drake-signs-to-young-money-distribution-by-universal-republic-268244/].
26
     Universal Music Group, Overview, supra note 24.



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                                 JURISDICTION AND VENUE

       27.     This Court has jurisdiction over this action and Defendant pursuant to 28 U.S.C.

§ 1332(a)(1), as the matter in controversy exceeds $75,000 exclusive of interests and costs and is

between citizens of different states.

       28.     This Court may exercise personal jurisdiction over Defendant pursuant to § 302 of

the New York Civil Practice Law and Rules because UMG transacts business within the state and

owns, uses or possesses real property within the state. Further, this Court may exercise personal

jurisdiction over Defendant pursuant to § 301 of the New York Civil Practice Law and Rules

because UMG systematically and continuously conducts and solicits business within New York

and has availed itself of the privileges of conducting business in the State of New York.

       29.     Venue is proper pursuant to 28 U.S.C. §§ 1391 (b) and (c) because a substantial

part of the events or omissions by UMG giving rise to the claims occurred in this District, and

because UMG is subject to personal jurisdiction in this District.

                                         BACKGROUND

       30.     Liability in this case is predicated on the Defamatory Material which UMG

published and/or caused the publication of beginning on May 4, 2024, and continuing through the

date of this filing. This background section provides facts and context about the parties and the

events leading up to the initial publications.

               A.      Drake Is Internationally Recognized as a Multitalented Rap Superstar.

       31.     Drake’s career spans two decades. While Drake first rose to fame in the early 2000s

as the star of hit Canadian teen drama television series Degrassi: The Next Generation, the rapper

“Drake” is now known worldwide.

       32.     Drake is one of the world’s best-selling music artists of all time. Some of Drake’s

biggest hits include “Hotline Bling” and “One Dance.” Between 2010 and 2024, Drake released


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eight studio albums, with more than 170 million albums sold including 244 million singles sold.

Drake has had 13 #1 Hits on the Billboard Hot 100 Chart.

           33.     Drake’s success has been repeatedly celebrated by the music industry. Drake has

been nominated for 55 Grammy Awards, and has won five, including most recently in 2023. Drake

has also won 42 Billboard Music awards and in 2021, Drake accepted Billboard’s “Artist of the

Decade” award. Drake proudly accepted the award with his young son, father, and members of

his team by his side, dedicating the award to his son, friends, longtime collaborators, and peers.

           34.     Drake’s professional and entrepreneurial endeavors extend beyond music. In 2012,

Drake founded the Canadian-based record label OVO Sound, which has signed artists including

PartyNextDoor, Majid Jordan, Smiley, and Naomi Sharon.

           35.     Drake also uses the brand name OVO, represented by an owl, for his clothing brand.

Far more than just “label merch,” the clothing brand has collaborated with Canada Goose,

Canadian retailer Roots, Disney, the NCAA, the NFL, and Supreme. In addition to lucrative online

sales, OVO operates several brick-and-mortar stores in Canada, the United States, and the United

Kingdom.27

           36.     Drake founded a multidisciplinary media production company, DreamCrew, which

operates a management company, production house, and content studio. Through DreamCrew

Entertainment, Drake has executive-produced award-winning documentary films, feature films,

and hit television programs for FX, Hulu, Netflix, and HBO, including Top Boy, which has

received awards from the British Academy Television Awards, and Euphoria, for which Drake

received a Primetime Emmy Award nomination.




27
     Stores, October’s Very Own, https://us.octobersveryown.com/stores [https://perma.cc/2QPU-LLYW].



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        37.     As a celebrity with global name recognition, Drake is regularly approached for

collaborations, partnerships, and endorsement deals.             In 2013, Drake became the global

ambassador for Toronto’s NBA team, the Raptors. Since then, Drake has inspired new alternate

team jerseys, narrated team advertisements, hosted a “Drake Night” each season for several years,

and pledged charitable contributions to refurbish community basketball courts and to support

Canada Basketball, the country’s national basketball federation. In 2019, the Raptors renamed

their practice facility the “OVO Athletic Centre.” Drake’s partnership with the Raptors is

significant to the team and the city, and President of the Toronto Raptors Masai Ujiri has said that

“the Raptors’ relationship with Drake has always ultimately been about celebrating this city and

the people who make it unique. . . . We have something very special happening in Toronto, and

Drake is a big part of that.”28

        38.     Drake’s philanthropic efforts have received almost as much attention and praise as

his music. Drake has a “history of making generous donations” and going on “charitable spree[s]”

in the communities where he shoots music videos and appears on tour.29 Through his charitable

giving, Drake has supported public schools and nonprofit educational programs, community

development organizations and homeless shelters, hurricane relief efforts, and various individuals

in need, including college students, grieving mothers, patients in need of surgery, and fans in dire

need of financial assistance. Drake also focuses on giving back to his community in Houston,

Texas, including by providing much-needed financial assistance in the wake of Hurricane Harvey.




28
     Drake and the Raptors Partnership Continues To Expand, NBA.com (Jan. 19, 2018),
https://www.nba.com/raptors/news/drake-raptors-partnership-continues-to-expand [https://perma.cc/Q2TH-CRFA].
29
  Marissa G. Muller, Drake Goes on $175,000 Charity Spree Paying For Groceries and College Tuition For Total
Strangers, W Magazine (Feb. 7, 2018), https://www.wmagazine.com/story/drake-charity-donations-womens-shelter-
groceries-tuition [https://perma.cc/P2FW-Y34L].



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           39.      As UMG knows and has understood at all relevant times, Drake has never been

indicted for, charged with, or convicted of committing any crimes whatsoever, much less sexual

crimes, or any crimes against minors.

                    B.       UMG Is a Music Industry Giant.

           40.      In its own words, UMG is the “world leader in music entertainment.”30 UMG is

“engaged in the business of acquiring, administering, licensing, exploiting and otherwise

monetizing a catalog of copyrights containing musical compositions and sound recordings.”31

UMG “controls almost a third of the music people listen to in the developed world and a sizable

portion in the developing world.”32

           41.      In the music industry, control over a particular single, album, or other collection of

works is governed by various contracts, including traditional recording deals, and distribution,

publishing, and licensing deals. In a traditional recording deal, a record label typically retains

exclusive rights to an artist and the artist’s recordings, and the right to re-recording the

compositions embodied therein for a specified period of time. The label pays an advance for the

artist’s recordings and royalties and finances the provision of services to the artist in areas such as

production, promotions, marketing, and distribution. A distribution deal differs in that it generally

allows an artist to retain ownership of his recordings and grants the record label the exclusive right

to sell, license, and distribute the recordings in certain formats (e.g., digital audio and physical

phonograph records) for a specified period of time. With a music publishing administration deal,




30
     Universal Music Group, Overview, supra note 24.
31
     Complaint ¶ 1, UMG Recordings, Inc. v. Vital Pharms., Inc., No. 1:21-cv-60914 (S.D. Fla. Apr. 28, 2021).
32
  Mike Kytka, Universal Music Group: A Royalty on Global Music Consumption, MoneyFlow Research (Sept. 22,
2022)                              https://moneyflowinvesting.substack.com/p/universal-music-group-a-royalty-on
[https://web.archive.org/web/20221014152632/https://moneyflowinvesting.substack.com/p/universal-music-group-
a-royalty-on].



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the artist as a songwriter generally retains ownership of his musical compositions and pays a

percentage of his music publishing revenues to a publisher to administer, promote, exploit, license,

and protect use of his songs.       A 360 deal, also known as a master contract, is the most

comprehensive. It encompasses the traditional rights granted in a recording deal, but also provides

the record label with control over, or a passive income stream from, merchandising, touring,

endorsements and other ancillary ventures the artist may undertake.

           42.   Once Universal Music owns the recording, distribution, and/or publishing rights to

a work, it exploits that ownership through licensing deals with third parties. “UMG licenses its

music to hundreds of retailers around the world.”33 These licensing deals allow third parties to

legally use a recording, a musical composition, or portions thereof. Universal Music has licensing

agreements with all of the major platforms, including, but not limited to, iTunes, Amazon, Apple

Music, Napster (formerly Rhapsody), and Spotify, as well as TikTok and Meta (including

Facebook, Instagram, YouTube, WhatsApp, and Threads). In the event that a person or entity

wants to use a song outside of one of the licensed platforms—for example, to play during a political

rally or a sporting event—it has to request the right to do so from Universal Music, which holds

the synchronization contract. A third party cannot legally use Universal Music’s recordings or

UMPG’s licensed content embodying those recordings in advertising, on a live stage, in film, on

television, or on the radio without the explicit consent of Universal Music. Through its exclusive

licensing rights, Universal Music wields incredible power to promote and popularize a song or

performer. UMG “invest[s] significant amounts of money, time, and effort to . . . advertise,

promote, sell, and distribute” the music it owns.34


33
     Id.
34
 Complaint ¶ 6, UMG Recordings, Inc. v. Grande Communications Networks LLC, No. 1:17-cv-00365 (W.D. Tex.
Apr. 21, 2017), ECF No. 1.



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           43.      Universal Music exercised this control in early 2024, when it pulled its songs from

publication on TikTok over issues with the platform’s use of generative artificial intelligence.35

Through copyright ownership, Universal Music can control the unlicensed use of its music, but it

can also strategically waive or reduce the customary fees it charges for the licensing rights to its

music to provide for the unrestricted spread of a song. This tactic, known as “whitelisting,”

happens when a copyright holder, like Universal Music, permits a user or platform to use its

content without charging fees or imposing other limitations. In the normal course, internet

platforms operate automated content identification systems to block the unauthorized use of

copyrighted material by their users. In whitelisting, these automated systems are turned off.

           44.      Universal Music says it “exist[s] to shape culture through the power of artistry”

because music “is unique in its ability to inspire people”36—that power to shape culture and inspire

people is apparent by the numbers. In its 2023 annual report, Universal Music boasts that it has a

catalog of more than 220 artists and brands, 3.2 million recordings, and 4.5 million owned and

administered titles.37 At the end of 2023, Universal Music had an ownership interest in 61 of the

Billboard Hot 100 tracks.38 In Q1 2024, Billboard reported that UMG represented 33.9 percent of




35
  See Glenn Peoples, UMG’s TikTok Standoff Affects Over 60% of the Most Popular Songs, Billboard Pro (Mar. 1,
2024),             https://www.billboard.com/pro/universal-music-tiktok-fight-affects-majority-most-popular-songs/
[https://perma.cc/M7FD-5MNH]; Todd Spangler, TikTok Removes Songs from Taylor Swift, Drake and More After
Universal Music Deal Termination, Variety (Feb. 1, 2024), https://variety.com/2024/digital/news/taylor-swift-drake-
removed-tiktok-1235894245/ [https://perma.cc/ZD7T-CWYG].
36
     Universal Music Group, Overview, supra note 24.
37
  Universal Music Group, Annual Report at 9 (Mar. 28, 2024), https://view.publitas.com/cfreport/umg-annual-report-
2023/page/9 [https://perma.cc/XJM3-WKVB].
38
     Peoples, supra note 35.



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the record label market share.39 On social media platforms alone, music owned by Universal

Music was streamed 11 trillion times in 2023.40

           45.      UMG’s size dwarves other music companies, and this “size gives it an advantage.”

UMG has “a physical presence in 200 geographic markets” which gives artists signed to UMG “a

critical edge compared to peers at competing labels as the company can amplify the local success

of an artist from one region to the rest of the world.”41

           46.      UMG uses this size and dominance to convince artists to sign with its record labels.

Because of streaming, “it is more of an uphill battle than ever before to capture the audience’s

attention amongst a sea of other songs.”42 UMG’s market position, combined with the flood of

content that hits streaming platforms every day, means that artists “depend on UMG to stand out

from the crowd.”43 Even established artists depend upon UMG to “maximize their commercial

success through its world-class marketing, proprietary data analytics, global distribution network,

and additional monetization opportunities.”44 Artists sign with UMG, in sum, because “a UMG

partnership” promises to support the artist’s music with “an experienced team of professionals

incentivized to advance [one’s] career.”45




39
  Dan Rys, Record Label Market Share Q1 2024: Warner Records Posts Huge Gains While Universal Enters a New
Era, Billboard (Apr. 12, 2024), https://www.billboard.com/business/record-labels/record-label-market-share-q1-
2024-universal-warner-1235655068/ [https://perma.cc/2ETX-7ESV]; Press Release, Universal Music Group N.V.
Reports Financial Results for the First Quarter Ended March 31, 2024, Universal Music Group (May 2, 2024),
https://assets.ctfassets.net/e66ejtqbaazg/614OYzS1StqrjuaCDprUYl/b291a4b4eaa4a4c13ab4ee7e28fb293c/Q1_202
4_results_press_release.pdf [https://perma.cc/X6L4-E3K2].
40
     Universal Music Group, Annual Report, supra note 37, at 7.
41
     Kytka, supra note 32.
42
     Id.
43
     Id.
44
     Id.
45
     Id.



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           47.     UMG’s executives are handsomely compensated for exploiting artistic works.

UMG reports that its executive compensation is driven by its transition to more performance-based

packages. UMG executives, including those at Interscope, have an annual incentive program

through which they are rewarded for meeting and surpassing sales and profit projections, among

other metrics. The incentives are largely based on the specific UMG division, rather than the

performance of UMG more generally. For example, the annual incentive or bonus of Interscope’s

CEO, John Janick, is based 90% on the financial success of Interscope and only 10% on the

financial success of UMG generally.

           48.     This division-based incentive structure creates perverse incentives within UMG.

Mr. Janick and other Interscope executives are incentivized to maximize the financial success of

the Interscope labels without taking into account the impact on other UMG labels. For example,

through the promotion of the Recording and its revitalizing impact on Kendrick Lamar’s entire

recording catalog, including his first five studio albums, Interscope and Interscope executives

benefit regardless of the effect on other UMG labels, like Republic, which represents Drake.

                   C.       UMG and Drake Have a Long Partnership.

           49.     UMG began profiting off Drake’s art in 2009.46 The parties extended their contract

in 2022. After announcing the 2022 contract extension, Sir Grainge described Drake as one of the

“biggest artists of today” and expressed that UMG “couldn’t be more excited about what lies

ahead” for its relationship with Drake.47 Through the contract extension, UMG profits from its

exclusive right to exploit Drake’s music.


46
     Concepcion, supra note 25.
47
   Earnings Call Transcript – Universal Music Group N.V. (UMGNF) CEO Lucian Grainge on Q1 2022 Results,
Seeking Alpha (May 3, 2022), https://seekingalpha.com/article/4506501-universal-music-group-nv-umgnf-ceo-
lucian-grainge-on-q1-2022-results-earnings-call-transcript
[https://web.archive.org/web/20221010054001/https://seekingalpha.com/article/4506501-universal-music-group-nv-
umgnf-ceo-lucian-grainge-on-q1-2022-results-earnings-call-transcript].



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           50.      The contract between UMG and Drake is up for renegotiation in 2025. By the

Spring of 2024, UMG understood that the rise of streaming platforms had “enhanced the

bargaining power of artists. Established artists whose contracts are coming up for renewal are in

an improved position to demand higher take rates due to the improvement in the visibility of cash

flows and risk reduction.”48 And as described below, on information and belief, UMG was

incentivized to act, and in fact did act, in a manner to reduce that bargaining leverage in advance

of upcoming negotiations with Drake over contract renewal.

                    D.       UMG Has Licensing and Publishing Rights over Kendrick Lamar’s
                             Music.

           51.      On information and belief, from 2012 through 2023, Kendrick Lamar was signed

to an exclusive production company agreement with Top Dawg Entertainment which, in turn,

furnished his exclusive recording services to the Aftermath Entertainment record imprint, a joint

venture of Interscope. The sound recording copyrights to Kendrick Lamar’s first five studio

albums are owned and controlled by Interscope. In 2023, having fulfilled his recording obligations

to Top Dawg Entertainment and Aftermath Records, Kendrick Lamar signed a new short-term

exclusive recording and licensing deal with UMG, through Interscope, and an exclusive publishing

administration agreement with UMG, through UMPG. Through these contracts, UMG exclusively

controls the release, publication, and licensing of all music products created by Kendrick Lamar

during the term of the contract, including the Defamatory Material. On information and belief,

Lamar signed a short-term deal with UMG to see if UMG could prove its value to him—to promote

him more effectively than any other music company could—in a compressed timeframe.




48
     Kytka, supra note 32.



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        52.     If successful, Lamar would then continue his relationship with UMG through a

new, longer-term contract. On information and belief, that long-term deal was consummated in

December of 2024.

        53.     On information and belief, UMG’s contracts with Kendrick Lamar provide UMG

the right to prevent the publication of, and/or to insist on modifications to, any material created by

Kendrick Lamar, including but not limited to any content which UMG believes to be defamatory.

                     UMG PUBLISHES THE DEFAMATORY MATERIAL

                A.      UMG Publishes the Recording and Begins to Defame Drake.

        54.     On May 4, 2024, pursuant to its publication and licensing rights, UMG published

the Recording for streaming on YouTube, YouTube Music, Spotify, Apple Music, Amazon Music,

Pandora, iHeart Radio, Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, and

made the Recording available for purchase on Apple Music and Amazon Music.

        55.     When viewed on Spotify, Apple Music, Amazon Music, iHeart Radio,

SoundCloud, and Deezer, the Recording includes the following language: “exclusive license to

Interscope Records,” which is a division of UMG.

        56.     Since Defendant’s initial publication of the Recording, the Recording has been

streamed globally more than 990 million times on Spotify alone as of the date of this filing.49

        57.     The Recording repeatedly accuses Drake of engaging in criminal acts, including

pedophilia and/or other acts that would require registering as a sex offender and of being registered

as a sex offender.

        58.     Within the first minute, the Recording identifies Drake by name and states that

Lamar has heard that Drake has a predilection for underage women: “Say, Drake, I hear you like


49
      Spotify    Chart      History,  Not  Like  Us,   Kworb.net       (last   visited Jan.   14,   2025),
https://kworb.net/spotify/track/6AI3ezQ4o3HUoP6Dhudph3.html [https://perma.cc/3NBM-LBQQ].



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‘em young.”50 The next line is a thinly veiled threat that Drake should be careful that he never

ends up in prison, a place where child predators are notoriously the targets of violence: “You better

not ever go to cell block one.”51 The Recording continues to say that any woman who falls in love

with Drake should be careful to “hide” her “lil’ sister from him.”52

           59.      Next, in a perverse reference to Drake’s 2021 album “Certified Lover Boy:”

“Certified Lover Boy? Certified pedophiles.”53 In a play on the dual meaning of minor—a person

under the age of 18 and a musical scale—the Recording says that Drake is “Tryna strike a chord

and it’s probably A-Minor.”54 Later in the Recording, Lamar describes Drake as “Malibu most

wanted.”55 The Recording continues to say that Drake and the people in his circle need to be

served with a “subpoena” because a “predator” moves “in flocks” and asserts that Drake’s name

“gotta be registered and placed on neighborhood watch.”56

           60.      The Recording also repeatedly suggests that violence should be used against Drake

because he is a pedophile. Like the sound of someone being beaten up, the Recording repeats

“wop, wop, wop, wop” and then says Lamar will “fuck ’em up.”57 Later, the Recording threatens

that if Drake comes to Oakland, where Lamar grew up, he will not make it out alive: “I think that

Oakland show gon’ be your last stop.”58 The Recording makes clear that justice will be served

not through the legal system and/or commentary on social media, “Fuck a caption,” but through


50
     Recording, supra note 3, at 00:40-00:42 (emphasis added).
51
     Id. at 00:42-00:45 (emphasis added).
52
     Id. at 00:45-00:50 (emphasis added).
53
     Id. at 00:57-01:00 (emphasis added).
54
     Id. at 01:06-01:14 (emphasis added).
55
     Id. at 01:40-01:42 (emphasis added).
56
     Id. at 02:11-02:15 (emphasis added).
57
     Id. at 00:57-01:02 (emphasis added).
58
     Id. at 01:25-01:28 (emphasis added).



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physical violence, “want action, no accident, and I’m hands-on, He fuck around, get polished.”59

At the end of the Recording, the lyrics threateningly repeat: “Hey, hey, hey, hey, run for your life,

Hey, hey, hey, hey, run for your life.”60

           61.      The Recording contains numerous additional statements that imply the existence of

evidence to support the allegations against Drake. The Recording threatens that Lamar could

reveal more secrets about Drake, “Rabbit hole is still deep, I can go further, I promise,” and that

the public will believe him: “The audience not dumb, Shape the stories how you want, hey,

Drake, they’re not slow.”61 The Recording continues by making reference to several Drake songs

(“Family Matters” and “God’s Plan”) and accusing Drake of being a liar for denying allegations

of criminality: “The family matter, and the truth of the matter, It was God’s plan to show y’all

the liar.”62 The Recording also makes a vulgar attack on Drake’s brand OVO: “What OVO for?

The ‘Other Vaginal Option’? Pussy”63 and “Let me hear you say, ‘OV-hoe’ (OV-hoe), Say, ‘OV-

hoe’ (OV-hoe).”64

           62.      Furthering the Recording’s refrain that Drake is “not like us,” the Recording alludes

to Drake’s Jewish heritage, saying that Drake is “not a colleague” but “a fuckin’ colonizer.”65

           63.      With the Recording, UMG also published an accompanying Image on May 4, 2024,

to YouTube, YouTube Music, Spotify, Apple Music, Amazon Music, Pandora, iHeart Radio,




59
     Id. at 01:57-02:01 (emphasis added).
60
     Id. at 03:50-03:54, 04:00-04:04 (emphasis added).
61
     Id. at 01:33-01:39 (emphasis added).
62
     Id. at 03:32-03:36 (emphasis added).
63
     Id. at 01:49-01:53 (emphasis added).
64
     Id. at 04:03-04:09 (emphasis added).
65
     Id. at 03:29-03:32 (emphasis added).



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Tidal, SoundCloud, Audiomack, Napster, Qobuz, Last.fm, and Deezer, the UMPG website,66 and

Meta and TikTok.67 Any person who views, listens to, or streams the Recording on one of these

platforms can view the Image.

              Image on Google Images:                                Image on Apple Music:




                   Image on Spotify:                                Image on Amazon Music:




66
     Song Details, Not Like Us by Kendrick Lamar, Universal Music Publishing                 Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image].
67
      Kendrick     Lamar    |    Not    Like   Us    on     Instagram, Instagram (May   4,    2024),
https://www.instagram.com/reels/audio/1182175136281886/?igsh=Z3pvOWdxNGRxb3Vw (for use in Instagram
users’ Reels); Kendrick Lamar | ♬ Not Like Us | on TikTok, TikTok (May 4, 2024),
https://www.tiktok.com/t/ZTNvgJGCM/ (for use in TikTok user’s videos).



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        64.     The Image features an aerial view of Drake’s Toronto home, includes identifying

information regarding the location of the home, and is covered in the icons used by law

enforcement and public safety applications like Citizen to identify child sex offenders and their

residences on public registries.

        65.     As of the date of this filing, UMG’s original publications of the Recording and

Image remain available on the aforementioned platforms.

        66.     At all relevant times, UMG knew that the allegations in the Defamatory Material

were baseless. And despite being able to contact Drake, at no point has UMG ever asked Drake

or his representatives about whether the allegations in the Defamatory Material were true.

        67.     On information and belief, Sir Grainge and Mr. Janick were involved in the initial

publication of the Recording and Image. Separately, on information and belief, Monte and Avery

Lipman (Republic CEO and President, respectively) failed to prevent the publication.

                B.      The Defamatory Material Is False.

        68.     The allegations against Drake are unequivocally false. Drake has never been

charged with, indicted for, or convicted of any charges of sexual violence or assault, including, but

not limited to, sexual violence against a minor. Nor has Drake ever engaged in an inappropriate

romantic or sexual behavior with a minor.

        69.     The Recording provides no evidentiary support for any of its defamatory

allegations. Instead, the Recording opaquely references “hearing” these allegations and threatens

that it can “go further.”




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                    C.       Drake Publicly Denies the Defamatory Material.

           70.      On May 5, 2024, just a day after UMG published the Recording and Image, Drake

denied all of the allegations in a song called “The Heart Pt. 6.”68 Drake explained that he has

“never been with no one underage” and that his name is not on the “sex offender list.”69

           71.      Despite being able to contact Drake, UMG did not ask Drake or his representatives

to discuss his denials of the allegations contained within the Defamatory Material.

                    D.       Drake Is the Target of Violence Almost Immediately.

           72.      Within days after UMG’s initial publication of the Recording and Image, which

depicted the location of Drake’s residence in Toronto, accused him of being a criminal pedophile,

and called for violence against him, multiple strangers, including at least one armed with a deadly

weapon, targeted Drake.

           73.      At 2:00 A.M. on May 7, 2024, a group of men drove by Drake’s Toronto residence,

screamed “Fuck Drake,” and released at least two shots. One bullet went through the security

fence and hit Drake’s front door. Another bullet hit and seriously wounded Drake’s security guard.

Drake and others in the house rushed to the man’s aid, trying to keep him from bleeding out while

the ambulance came. The injuries he sustained were serious and, for two days, doctors were not

sure if he would live.

           74.      The news quickly jumped on the story of the violent attack against Drake, with all

the major news outlets publishing stories. For days news helicopters flew overhead the Toronto

house. While no one from UMG ever reached out to Drake or any of his representatives to check

on his well-being, UMG undoubtedly saw the press coverage of the attack.


68
     Drake (@DrakeOfficial), THE HEART PART 6 – DRAKE, YouTube                       (May   5,   2024),
https://www.youtube.com/watch?v=HJeY-FXidDQ [https://perma.cc/K6P7-6YS5].
69
     Id. at 02:18-02:19, 02:49-02:52.



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        75.      Also on May 7, 2024, across the globe in London, United Kingdom, Drake’s OVO

clothing store was vandalized with graffiti that read: “They not like us.” The graffiti was likely

viewed by hundreds of Carnaby Street passersby before the glass window could be removed and

millions online once the news broke.

        76.      On May 8, 2024, a different invader attempted to break in to Drake’s property by

using his bare hands to dig under the security gate. The invader slid under the fence and entered

the property, screaming racist slurs and threats toward Drake. The invader was apprehended by

security before making it to the house.

        77.      On May 9, 2024, there was another trespasser on Drake’s Toronto property, this

time the trespasser got into a physical altercation with Drake’s security guards before being taken

away by the police. The individual returned to Drake’s property on May 11, 2024.70

        78.      These acts of violence against his residence, where Drake lives with his son, and

against his business, are not normal. In all the years he has been a celebrity, nothing like the events

of early May has ever happened to Drake before. After these attacks, Drake reasonably fears for

the safety of his family, and himself, particularly at his Toronto property. Following the May 7

shooting, Drake temporarily pulled his seven-year-old son out of school and the Toronto area.

        79.      Drake lives his life differently since UMG published the Defamatory Material.

Drake has increased his security team in Toronto and everywhere he goes.

                 E.       UMG Continues to Defame Drake by Publishing the “Not Like Us”
                          Music Video.

        80.      On July 4, 2024, two months after UMG initially published the Recording and

Image, and with knowledge of the actual violence and online threats that had already emerged,


70
   Trent Fitzgerald, Drake’s Security Confronts the Same Intruder for Second Time at His Toronto Estate, XXL
Magazine        (May     11,      2024),     https://www.xxlmag.com/drake-security-third-intruder-toronto-estate/
[https://perma.cc/GK54-7LPA].



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UMG published a “Not Like Us” music video on YouTube71 and to users of Apple Music72 and

Tidal.73

                                             Video on YouTube:




           81.      On YouTube, a watermark for Vevo LLC appears in the bottom right of the

Video.74 The YouTube caption for the Video lists a Vevo LLC URL, http://vevo.ly/NcHpoC.75

Universal Music is a significant owner of Vevo LLC (“Vevo”), which is a privately held American

multinational music video-hosting service. Universal Music uses Vevo to distribute video content

to global platforms, such as YouTube and major television networks.

           82.      The Video depicts images bolstering the Recording’s defamatory allegations. For

example, the lyrics “Tryna strike a chord and it’s probably A-Minor” are matched with an image




71
     Video, supra note 5.
72
    Kendrick Lamar, Not Like Us [Explicit], Kendrick Lamar, Apple Music (July                 4,   2024),
https://music.apple.com/us/music-video/not-like-us/1755691074 [https://perma.cc/GR3L-PGWX].
73
    Kendrick Lamar, Not Like Us, TIDAL (July 4, 2024), https://tidal.com/browse/video/373513584
[https://perma.cc/8AZN-X2K9].
74
     Video, supra note 5.
75
     Id.



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of hopscotch, a popular playground game for children.76 The imagery reinforces the drawn-out

singing of the “A-Minor” lyric and the lie that Drake is a pedophile.




           83.       Kendrick Lamar is depicted in front of shipping containers with air-conditioning

units inside. These images are associated with sex trafficking.




           84.       The Video also includes allusions to Drake’s OVO brand, which is represented by

an owl. In combination with the lyrics “Wop, wop, wop, wop, wop, Dot, fuck ‘em up,” the Video




76
     Id. at 01:43-01:51.



                                                    30
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shows Lamar beating an owl-shaped piñata with a bat.77 During this scene, a caption appears at

the bottom of the video that states: “DISCLAIMER: NO OVHOES WERE HARMED DURING

THE MAKING OF THIS VIDEO.”




           85.       In its conclusion, the Video depicts a prolonged shot of a live owl in a cage.78 The

meaning is clear: Drake belongs behind bars.

           86.       Defendant’s initial publication of the Video on YouTube has been viewed more

than 206 million times as of the date of this filing.79 As of the date of this filing, UMG’s original

publications of the Video remain available on the aforementioned platforms.

           87.       On information and belief, each of Sir Grainge, Mr. Janick, Mr. Monte Lipman,

and Mr. Avery Lipman played a key role in the initial publication of the Video either in directing

or approving the publication and/or failing to prevent its publication.




77
     Id. at 01:36-01:42.
78
     Id. at 05:04-05:20.
79
     Id.



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           UMG PUBLISHED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
           OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
                WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

           88.     UMG does not believe now, nor has it ever believed, that Drake is a pedophile, a

sex offender, or otherwise a criminal. Defendant published, republished, and promoted the

Defamatory Material knowing the allegations were not true or, at least, with reckless disregard for

its falsity.

           89.     UMG also published and promoted the false allegations against Drake despite the

inherent improbability of the allegations, reliable contrary information, and awareness that they

were unsupported by any evidence, let alone reliable evidence.

           90.     As an initial matter, UMG has a financial interest in knowing any potential

liabilities that Drake had or could have—including criminal charges or convictions. As laid out in

UMG’s Code of Conduct, UMG is “committed to human dignity,” does not tolerate “human rights

abuses such as child labor, slavery, human trafficking and unsafe or unfair work practices at our

operations,” and only conducts “business with partners, suppliers and customers who share our

commitment to protecting human rights.”80 UMG would not have contracted with Drake in the

first instance, nor would it have continued to maintain existing contracts, had it believed at any

relevant time that any of the allegations in the Defamatory Material were true in any respect.

           91.     UMG understands, and as is easily confirmed through basic public records

searches, that Drake had never been charged with, indicted for, or convicted of any charges of

sexual violence or assault, including, but not limited to, sexual violence against a minor.

           92.     Furthermore, UMG has access to Drake and could have asked him directly about

the veracity of the allegations at any point in time.


80
     Universal Music Group, Our Code of Conduct, supra note 18, at 12.



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           93.      UMG also knew or should have known that by publishing the Defamatory Material,

it was gambling with Drake’s safety. Critically, in addition to accusing Drake of being a criminal

pedophile, the Defamatory Material calls for violence against Drake and depicts his Toronto

address. Incidents like 2016’s Pizzagate show how accusing someone of being a pedophile and/or

of committing crimes against children can quickly spin out of control into a viral conspiracy theory

and acts of real physical violence. UMG directly knows what harms can arise from such

“outrageous allegations” of “criminal activity.”81 UMG and Sir Grainge were recently accused of

aiding and abetting P. Diddy in committing heinous and widespread acts of sexual violence against

minors. UMG and Sir Grainge acted swiftly to refute these allegations. In a court filing, Sir

Grainge stated, “I do not take lightly being falsely and publicly accused of criminal activity, and

as I said, I intend to pursue those who have made these outrageous allegations against me.”82

           94.      Despite having knowledge of the violence that occurred at Drake’s Toronto

residence, as well as substantial online threats and vitriol directed at Drake, and notwithstanding

having a direct line of communication to Drake, UMG did not discuss the Video with Drake prior

to publishing it.

     UMG ENGAGES IN A PUBLICITY CAMPAIGN TO ENSURE MAXIMUM SPREAD
          OF THE DEFAMATORY MATERIAL AND DECEIVE CONSUMERS

           95.      Since the initial publications on May 4 and July 4, 2024, UMG has utilized every

weapon in its arsenal to ensure that the Defamatory Material spread to the maximum extent

possible around the world.




81
     Declaration of Sir Lucian Grainge, supra note 14, at ¶ 15.
82
     Id.


                                                            33
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                A.       UMG Used Social Media to Promote the Defamatory Material and
                         Market the Recording’s “Popularity” to Consumers.

        96.     In the months since the initial publications, and for months after it understood the

harms Drake had suffered as a result of the Defamatory Material, UMG repeatedly posted the

Defamatory Material to its social media accounts, including Interscope and UMPG accounts. At

the time of this filing, UMG has a social media following of approximately 2.21 million on

YouTube, 983,000 on Instagram, 712,000 on X, and 624,000 on Facebook.83 At the time of filing,

Interscope has a social media following of approximately 937,000 on YouTube, 756,000 on

Instagram, and 560,000 on Facebook.

        97.     On June 9, 2024, Interscope reposted a tweet bragging that “Kendrick Lamar’s ‘Not

Like Us’ becomes the FASTEST rap song to reach 300M Spotify streams” in only “35 days.”84

The post features the Image side by side with a photo of Kendrick Lamar. The post has

approximately 604,200 views.




83
   These estimated follower totals exclude the social media accounts of related UMG entities, affiliates, and
subsidiaries.
84
     Interscope (@interscope),   X   (Jun.    9,   2024),   https://x.com/Interscope/status/1800258394382614977
[https://perma.cc/4W9P-8N5N].



                                                       34
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           98.     On June 20, 2024, UMG posted a carousel of photos and videos to its official

Instagram account, of Lamar performing the Recording at the Pop Out concert during which the

Recording was played five times back-to-back. UMG captioned the post, “History was made. [fire

emoji] cc: @kendricklamar”85 and tagged Interscope.




           99.     That same day, UMPG posted videos from the Pop Out performance on its official

Instagram, which has hundreds of thousands of followers,86 Facebook page,87 and TikTok.88 The

Facebook post included the main “Not Like Us” refrain from the Recording,89 while the Instagram



85
      See    Universal   Music    Group,    (@universalmusicgroup),     Instagram (June         20,    2024),
https://www.instagram.com/p/C8c2ni6RqtF/?img_index=1 [https://perma.cc/7WUU-WCTG].
86
  Universal Music Publishing Group (@umpg), Instagram, https://www.instagram.com/umpg/ (last visited Jan. 14,
2025).
87
     Universal Music Publishing Group, Facebook, https://www.facebook.com/UMPG/ [https://perma.cc/6RYD-J96F].
88
     Universal Music Publishing          Group,   TikTok,    https://www.tiktok.com/@universalmusicpublishing
[https://perma.cc/EUK7-Y3ND].
89
   Universal Music Publishing Group, Facebook (June 20, 2024), https://www.facebook.com/reel/1033017875019038
(last visited Jan. 14, 2025).



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and TikTok post published the “A-Minor” portion of the Recording.90 On Instagram, UMPG

captioned the video “THEY NOT LIKE US @KendrickLamar pops out with his debut

performance of ‘Not Like Us’ at his Ken & Friends Pop Out Juneteenth concert in LA.”91

Similarly, on TikTok, UMPG boasted that the “Crowd goes wild for #KendrickLamar’s debut

performance of ‘Not Like Us’ at his Juneteenth ‘Pop Out’ concert at the Kia Forum in Los Angeles,

CA.”92

         100.   Greg Marella, President of Promotion and Executive Vice President of Capital,

another UMG label, promoted the Pop Out concert on his personal Instagram page with the same

photo posted by UMG.93

         101.   On July 5, 2024, Interscope promoted the Video on its Instagram account.94 The

carousel included images and a short clip of the Video with the caption “Not Like Us. Out Now.”

         102.   On July 8, 2024, UMPG posted a GIF from the Video on its X account encouraging

people to watch the Video: “TELL US: What was your favorite moment from @kendricklamar’s

“Not Like Us” music video? ↳https://youtu.be/H58vbez_m4E.”95




90
        Universal   Music        Publishing    Group    (@umpg),        Instagram   (June 20,     2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H]; Universal Music Publishing Group,
TikTok (June 20, 2024), https://www.tiktok.com/t/ZTNtE5UaY/ [https://perma.cc/KQE2-FCUX].
91
        Universal   Music     Publishing  Group       (@umpg),     Instagram       (June     20,     2024),
https://www.instagram.com/p/C8cwMUpvfCH/ [https://perma.cc/6K74-X49H].
92
    See Universal Music Publishing Group, TikTok (June 20, 2024), https://www.tiktok.com/t/ZTNtE5UaY/
[https://perma.cc/KQE2-FCUX].
93
   Greg Marella (@gregmarella), Instagram (June 20, 2024), https://www.instagram.com/p/C8bXzffOpcf/?hl=en
[https://perma.cc/YPL5-HHG9].
94
  Interscope (@interscope), Instagram (July 5, 2024), https://www.instagram.com/p/C9DhFTpS7yG/?img_index=1
[https://perma.cc/H6A2-YE2W].
95
  Universal Music Publishing Group (@umpg), X (July 8, 2024), https://x.com/UMPG/status/1810426132736438584
[https://perma.cc/CLL2-CWJR].



                                                    36
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        103.    On July 15, 2024, Interscope reposted two X posts, including one from Complex,

regarding a fan’s creation of a “Not Like Us” video game.96 The posts depict images from the

video game which emulate the scene from the Video in which an owl-shaped piñata is beaten with

a bat and ultimately destroyed. The posts together have 3.5 million views.

        104.    On July 16, 2024, Interscope reposted on X that the Recording had become “the

bestselling rap song of 2024 in the US.”97

        105.    On July 24, 2024, UMG posted on its X account, about the Recording charting as

the “most-streamed song” of the week.98

        106.    On August 29, 2024, UMG posted on X with a link to a Spotify “Summer Hits 2024

playlist” with a caption boasting that the Recording was a “Song of the Summer.”99




96
    See Interscope (@interscope), X (July 15, 2024), https://x.com/Interscope/status/1813282352694743250
[https://perma.cc/Q4QH-AYY9];          Interscope     (@interscope),       X      (July    15,     2024),
https://x.com/Interscope/status/1813281639277162682 [https://perma.cc/6Q57-F97N].
97
     Interscope (@interscope),   X   (July   16,   2024),   https://x.com/Interscope/status/1813282022753988707
[https://perma.cc/BB25-S2T9].
98
    Universal Music Group (@umg), X (July 24, 2024), https://x.com/UMG/status/1816159700297343062
[https://perma.cc/MY9M-QVD9].
99
    Universal Music Group (@umg), X (Aug. 29, 2024), https://x.com/UMG/status/1829214002687381505
[https://perma.cc/PJ99-44TD].



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        107.    On its YouTube Channel, Interscope curates playlists of recommended music

videos for fans. As of the date of this filing, the Video is featured on the label’s music video

playlist.100




        108.    On November 8, 2024, following an extensive publicity campaign launched and

managed by UMG, the Recording Academy nominated the Recording for several Grammy

Awards, including the top awards for Record of the Year, Song of the Year, Best Rap Performance,

and Best Rap Song, and nominated the Video for Best Music Video.101 Following the release of



100
     Interscope Records (@InterscopeGeffenAM), “FEATURED ON INTERSCOPE” Playlist, YouTube,
https://www.youtube.com/playlist?list=PLJzLTReoSNQS698_Vhj1uLLiualhVrg3w [https://perma.cc/D8VY-
TPHG].
101
    Nina Frazier, 2025 GRAMMYs: See The OFFICIAL Full Nominations List, Grammy.com (Nov. 8, 2024),
https://www.grammy.com/news/2025-grammys-nominations-full-winners-nominees-list       [https://perma.cc/ME87-
NSHZ] (Music producer Dijon Isaiah McFarlane, known professionally as Mustard, also received a nomination for
Producer of the Year, Non-Classical, for his work on the Recording).



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the nominations, Interscope posted a congratulatory message on its Instagram.102 UMG also

posted on Instagram and X bragging about the nomination for Song of the Year.103

                   B.       UMG Used its Ownership Interests to Promote the Defamatory
                            Material.

           109.    On information and belief, UMG used its stake in Complex,104 a global youth

entertainment network, to further promote the Defamatory Material.

           110.    Between May 5, 2024 and the date of this filing, Complex has published at least 50

articles about “Not Like Us” and posted about the Recording hundreds of times across its website

and social media accounts.




102
      Interscope Records (@interscope), Instagram (Nov. 8, 2024), https://www.instagram.com/p/DCIKBoBR9ja/.
103
         Universal   Music     Group    (@universalmusicgroup),   Instagram     (Nov.    8,   2024),
https://www.instagram.com/p/DCHtaKxxtpx/?hl=en&img_index=1;        Universal       Music      Group
(@universalmusicgroup), Instagram (Nov. 8, 2024), https://www.instagram.com/reel/DCHws9LRKIi/?hl=en;
Universal Music Group (@umg), X (Nov. 8, 2024), https://x.com/UMG/status/1854958452860223524
[https://perma.cc/6HA2-JTZJ].
104
   Press Release, NTWRK Acquires Complex to Build Next Generation Content and Shopping Experience, Universal
Music Group (Feb. 21, 2024), https://www.universalmusic.com/ntwrk-acquires-complex-to-build-next-generation-
content-and-shopping-experience/ [https://perma.cc/RWX6-CH2W].



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        111.     On May 4, 2024, Complex tweeted a photo of the Image and described it for what

it was: “The Cover for ‘Not Like Us’ is Drake’s Toronto Mansion… with sex offender app

markers.”105




        112.     On July 5, Complex published an article titled “Decoding Kendrick Lamar’s ‘Not

Like Us’ Video” and another titled “Every Reference in Kendrick Lamar’s ‘Not Like Us’

Video.”106 The articles describe in detail the Recording’s defamatory allegations against Drake.


105
            Complex        Music         (@ComplexMusic),          X         (May       4,              2024),
https://x.com/ComplexMusic/status/1786918037045555626?lang=en [https://perma.cc/4UCU-88TH].
106
     Miki Hellerbach, Decoding Kendrick Lamar’s “Not Like Us” Video, Complex (July 5, 2024),
https://www.complex.com/music/a/complex/kendrick-lamar-not-like-us-video-decoding-hidden-meanings
[https://perma.cc/XWT8-CKN7]; Joe Price, Every Reference in Kendrick Lamar’s “Not Like Us” Video, Complex
(July 5, 2024), https://www.complex.com/music/a/backwoodsaltar/every-reference-not-like-us-video-kendrick-drake


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       113.    On information and belief, Universal Music also used its ownership interest in Vevo

to over-index the Video on the platform. Put differently, Vevo boosted the visibility of the Video

relative to others in order to disproportionately increase its overall views, engagement, and

performance on charts.

               C.      UMG Granted Licenses to Promote the Defamatory Material.

       114.    UMG also used its global publishing division, UMPG, to license the Defamatory

Material for broader use and consumption. Since the Recording’s release, UMPG has listed the

Recording on its website for licensing on television and in film.107




[https://perma.cc/W5N4-WRRH].
107
      Song Details – Not Like Us by Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Digital-Music-Library/song/547780/kendrick-lamar-not-like-us
[https://perma.cc/UDS2-D9J7?type=image]; Kendrick Lamar, Universal Music Publishing Group,
https://www.umusicpub.com/us/Artists/K/Kendrick-Lamar.aspx [https://perma.cc/VCH4-84TV?type=image].



                                                41
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       115.   On the UMPG website, third parties seeking to license songs for audiovisual

publications can filter by genre, chart-topping songs, and themed playlists. UMPG markets the

Recording as having a “winning/achievement” “lyrical theme.”




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        116.      UMG further promotes the Recording for licensing by listing its success on the

music charts. For example, on UMPG’s website, a third party could search for songs in the Hot

100 Singles.




        117.      UMG also curates themed playlists on UMPG’s website for marketing purposes.

The Recording is currently featured on the “Winner’s Circle” playlist with 26 other songs that can

be licensed.108

        118.      As a result of its marketing efforts, UMG has repeatedly licensed the Recording to

be performed publicly and published on other platforms. For example, on June 19, 2024, the

Recording was performed five times in a row at a concert in Inglewood, California109 to a crowd



108
   Winner’s Circle Playlist, Universal Music Publishing Group, https://www.umusicpub.com/us/Digital-Music-
Library/playlist/72885/-winners-circle (last updated Dec. 18, 2024).
109
   Michael Saponara, Kendrick Lamar Performs Drake Diss Track ‘Not Like Us’ 5 Times Back-to-Back at Pop Out
Concert, Billboard News (June 20, 2024), https://www.billboard.com/music/rb-hip-hop/kendrick-lamar-performs-
not-like-us-five-times-la-show-1235714258/ [https://perma.cc/D7FL-H9M8].



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of approximately 16,000 attendees110 and a live stream of over 186,000 viewers on Amazon’s

Prime Video and Twitch.111 The livestream broke Amazon Music’s streaming record for the most

minutes watched of any Amazon Music production ever across Prime Video and Twitch.112 In the

three days following the concert, Kendrick Lamar received nearly 61 million combined official

on-demand U.S. streams.113           The Recording represented approximately 21 million of those

combined streams—a 62% increase from the three-day period preceding the concert.114 This

republication on June 19, 2024, and its subsequent republication on streaming platforms, reached

more than 21 million people, and could not have occurred without UMG’s explicit permission.

            119.   UMG subsequently made the live performance of the Recording available to be

played on the radio.115 And radio stations played it.

            120.   UMG has also leveraged its existing licensing agreements with TikTok and Meta

to make the Recording and Video available to users of those platforms.116 As of the date of this




110
    Taijuan Moorman, Kendrick Lamar performs Drake diss ‘Not Like Us’ 5 times at Juneteenth ‘Pop Out’ concert,
USA Today (June 20, 2024), https://www.usatoday.com/story/entertainment/music/2024/06/20/kendrick-lamar-
concert-pop-out-ken-and-friends-livestream-juneteenth/74154407007/ [https://perma.cc/Z55R-ZQJR].
111
   Steven J. Horowitz, Kendrick Lamar’s ‘The Pop Out – Ken and Friends’ Concert in Los Angeles to Stream Live
on Amazon Music, Variety (June 7, 2024), https://variety.com/2024/music/news/kendrick-lamar-the-pop-out-ken-
and-friends-livestream-amazon-music-1236029181/ [https://perma.cc/DL6H-TA8U].
112
    Sophie Caraan, Amazon Music Releases Live Performance Video of Kendrick Lamar’s “Not Like Us”, Hypebeast
(June 21, 2024), https://hypebeast.com/2024/6/kendrick-lamar-breaks-amazon-music-record-not-like-us-live-video-
stream [https://perma.cc/8NN7-XDD5].
113
   Andrew Unterberger, Kendrick Lamar, Entire Black Hippy Crew and Mustard & Friends All Up in Streams After
Juneteenth ‘Pop Out’ Concert, Billboard (June 26, 2024), https://www.billboard.com/music/chart-beat/kendrick-
lamar-juneteenth-pop-out-not-like-us-trenidng-up-1235718243/ [https://perma.cc/M76T-J64J].
114
      Id.
115
    Bryson Paul, California Radio Adds Live Version Of “Not Like Us” To Rotation, Hot 97 (July 11, 2024),
https://www.hot97.com/news/california-radio-adds-live-version-of-not-like-us-to-rotation/ [https://perma.cc/PW48-
S8DM].
116
    See Etan Vlessing, Meta, Universal Music Group to Allow Users to Share Songs on WhatsApp, Hollywood Reporter
(Aug. 12, 2024), https://www.hollywoodreporter.com/business/business-news/meta-universal-music-group-
whatsapp-songs-1235972143/ [https://perma.cc/87HH-EJH8] (“As part of the agreement renewal, UMG artists and
songwriters will receive a slice of advertising revenue from the use of licensed music on Meta creator posts.”); Etan
Vlessing, Universal Music Group CEO on New TikTok Deal: ‘Human Artistry Must Be Respected,’ Hollywood


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filing, the Recording had been used in over 1,300,000 videos on TikTok. More than 100 TikToks

using the Recording have been viewed at least 2 million times each, with many being viewed tens

of millions of times.117 In total, 125 popular TikToks have been viewed over 1 billion times.118

And as of the date of this filing, the Recording has been used in over 616,000 reels on Instagram.119

            121.   UMG also granted licenses for the Recording to be played at sporting events, award

shows, and political rallies. The Recording has been played and broadcasted on television during

coverage of games for the MLB, NBA, and WNBA. The Recording also played during the July

2024 ESPY awards, an annual award ceremony that honors the top athletes and sports

performances of the year.

            122.   During a July 20, 2024 campaign rally for Vice President Kamala Harris in Atlanta,

Georgia, the DJ played the Recording to the live crowd. Video footage showing the crowd singing

along to the lyrics “Certified Lover Boy? Certified pedophiles” and “Tryna strike a chord and

it’s probably A-minor” quickly went viral on social media.120

            123.   The Recording also played during the highly anticipated roll call vote for President

during the Democratic National Convention. The Recording blared in the United Center as




Reporter (May 2, 2024), https://www.hollywoodreporter.com/business/business-news/universal-music-tiktok-deal-
1235888711/ [https://perma.cc/4CQX-VZBT].
117
   See Exhibit B; see also Not Like Us, TikTok, https://www.tiktok.com/music/Not-Like-Us-7365349431086401552
[https://perma.cc/DQB8-LKP9].
118
      Id.
119
   Reels Audio - Not Like Us, Instagram Reels, https://www.instagram.com/reels/audio/1182175136281886/not-like-
us/ (last visited Jan. 14, 2025) (page also preserved offline).
120
     Spotless victim (formerly User the psycho of violence) (@santana_abraxas), X (July 30, 2024),
https://x.com/santana_abraxas/status/1818426483586548080 [https://perma.cc/7P4H-VVNZ] (emphasis added).



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California’s Governor Gavin Newsom cast the state’s delegates.121 The convention was reportedly

viewed by approximately 20 million people across 12 television networks.122

        124.     The Recording also became the postseason anthem for the Los Angeles Dodgers’

playoff run and eventual 2024 World Series victory. The Dodgers had featured the Recording in

a hype video posted to their official YouTube page.123

        125.     Lamar is set to headline the Apple Music Super Bowl LIX Halftime Show in New

Orleans on February 9, 2025, which will be broadcasted on FOX. On information and belief,

UMG conferred financial benefits and leveraged existing business relationships to secure the

headliner-spot at the Super Bowl.

                 D.       UMG Made Covert Payments to Third Parties to Deceive Consumers.

        126.     In addition to publishing, marketing, and licensing the Defamatory Material, on

information and belief, UMG also put a thumb on the scale by providing covert financial incentives

to third parties to further spread the lies against Drake.

                        i.        UMG Caused Third Parties to Fake Streams.

        127.     UMG, directly or through its agents, conspired with and paid currently unknown

parties to use “bots” to artificially inflate the spread of the Recording on Spotify. Bots are software

programs designed to mimic human behavior to appear to be real social media accounts. One




121
   C. Mandler, The DNC roll call featured a musical salute to each state. Here’s what your state chose, NPR (Aug.
21, 2024, 10:06 AM), https://www.npr.org/2024/08/21/g-s1-18188/democratic-national-convention-roll-call-music-
state        [https://web.archive.org/web/20241130003518/https://www.npr.org/2024/08/21/g-s1-18188/democratic-
national-convention-roll-call-music-state]; see also GreatLakesLiberal (@GreatLakes32nd), X (Aug. 20, 2024),
https://x.com/GreatLakes32nd/status/1826064516112585093 [https://perma.cc/9Q2V-MBBN].
122
    Selome Hailu, Democratic National Convention Viewership Keeps Steady with 20.2 Million Viewers on Third
Night,     Variety   (Aug.   21,   2024),    https://variety.com/2024/tv/news/dnc-ratings-viewers-1236112994/
[https://perma.cc/EQH3-4KBU].
123
   See Cole Blake, LA Dodgers Use Kendrick Lamar’s “Not Like Us” As Anthem For Postseason, Hot New Hip Hop
(Oct. 6, 2024), https://www.hotnewhiphop.com/848710-la-dodgers-kendrick-lamars-not-like-us-anthem-postseason-
hip-hop-news [https://perma.cc/D78R-6AKK].



                                                       46
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individual whose identity is unknown to Plaintiff revealed publicly on a popular podcast that

Kendrick Lamar’s “label” (i.e., Interscope) paid him via third parties to use “bots” to achieve

30,000,000 streams on Spotify in the initial days following the Recording’s release with the goal

of “jumpstarting” its spread and turning it into “a crazy hit” on the platform.124 UMG’s desire to

jumpstart the Recording’s popularity is unsurprising because streams beget more streams. Songs

identified as top-streamers land on “most popular” lists and playlists, which leads to more streams

(and therefore more licensing requests, more purchases, more partnerships, and ultimately, more

money for UMG).

           128.     The whistleblower described Spotify as the easiest platform “to bot” because it does

not, like other streaming platforms, have certain security measures “when it comes to bot

protection.”125 The whistleblower further revealed that, on May 6, 2024, an individual affiliated

with Interscope sent him a payment of $2,500 via the digital payment platform Zelle, and that he

was promised another $2,500 and a percentage of the Recording’s total sales for the initial push.126

           129.     “Fake” streams are a well-known problem across the music industry. In 2023, The

Financial Times reported that experts estimated that as much as 10 percent of all music streams

are “fake” or derived from bots and streaming farms,127 where devices run services like Spotify

and other streaming platforms on loop.128 Universal Music, Spotify, and Apple Music, among



124
    Jambisco Don (@JambiscoDon), Kendrick Lamar EXPOSED by DJ Akademiks and HACKER Epic for BOT
streams,                  YouTube                 (June                18,                2024),
https://www.youtube.com/watch?si=PoazLqeHTyBePEiq&v=rcsW2wteW0c&feature=youtu.be
[https://perma.cc/8QKB-MX9V].
125
      Id. at 14:15-14:23, 15:06-15:08.
126
      Id. at 04:14-04:33, 06:52-07:02, 34:36-35:12.
127
    For a video of what a streaming farm allegedly looks like, see Now This, TikTok (Apr. 5, 2024),
https://www.tiktok.com/@nowthis/video/7354493993964539178 [https://perma.cc/5FV9-F5Z9].
128
    Anna Nicolaou, The incredible resilience of the music industry, Financial Times (Sept. 8, 2023),
https://www.ft.com/content/b85ab5af-bd03-4da8-971a-316e7c7897dc [https://perma.cc/S6LP-R223].



                                                      47
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others, participated in a study at the request of the French parliament, which found that between 1

billion and 3 billion fake streams took place on popular music platforms in 2021.129

        130.     Publicly, Spotify has stated that it is aware of the issue of bots on its platform and

is actively working to address it. In response to Drake’s pre-litigation filing in New York state

court, Spotify explained that it “invests heavily in automated and manual reviews to prevent,

detect, and mitigate the impact of artificial streaming on its platform.”130

                          ii.      UMG Offered Undisclosed Financial Incentives to Promote the
                                   Recording.

        131.     On information and belief, UMG also offered financial incentives, including direct

payments and reduced licensing rates, to various third parties to promote the Recording. These

financial benefits were never disclosed to consumers. According to confidential sources recently

made known to Drake, certain UMG labels have engaged in pay-for-play arrangements with radio

and streaming services to boost the popularity of specific songs, and used bots to artificially inflate

streaming numbers.

        132.     Drake has also received information that UMG engaged in a classic pay-for-play

scheme by paying to increase the air play of the Recording on the radio, including radio stations

in New York. Specifically, Drake has received information that at least one member of UMG’s

radio promotion team made payments to an independent radio promotor who agreed to transfer

those payments to radio stations and/or radio station employees in exchange for those radio stations


129
      Study: Stream Manipulation, at 46, Ctr. Natl De La Musique (2021), https://cnm.fr/wp-
content/uploads/2023/01/2023_-CNM-_Manipulation-des-streams_ENG.pdf [https://perma.cc/B8WH-7GCR]; see
also Morgan Meaker, One Man’s Army of Streaming Bots Reveals a Whole Industry’s Problem, Wired (Mar. 21,
2024),                                                     https://www.wired.com/story/streaming-bots-spotify/
[https://web.archive.org/web/20250114134159/https://www.wired.com/story/streaming-bots-spotify/].
130
    See Spotify USA, Inc.’s Memorandum of Law in Opposition to Verified Petition at 5 n.5, In the Matter of the
Application of, FROZEN MOMENTS, LLC et al., Docket No. 161023/2024 (N.Y. Sup. Ct. Dec. 20, 2024). Spotify
represented that it “found no evidence to substantiate” that bots streamed the Recording 30 million times in the days
after initial publication.



                                                        48
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playing the Recording. On information and belief, this practice was more widespread than one

member of the UMG radio promotion team. This “pay to play” practice, known as “payola,” is

prohibited by the Communications Act of 1934 (see 47 U.S.C. §§ 317, 508), and has been the

subject of regulatory scrutiny by a number of Executive agencies.131

            133.   In 2006, UMG agreed to pay $12 million in a settlement with the New York

Attorney General following an investigation involving accusations that UMG executives had used

a broad array of “pay for play” tactics to secure radio airplay for music.132 In connection with

UMG’s settlement, the then-New York Attorney General explained, “Consumers have a right not

to be misled about the way in which the music they hear on the radio is selected.”133 He continued:

“Pay-for-play makes a mockery of claims that only the ‘best’ or ‘most popular’ music is

broadcast.”134 Separately, in 2005, UMG was sued by two radio promotion companies alleging

fraudulent pay-for-play practices.135

            134.   It remains an open secret within the music industry that power players, like UMG,

are continuing to engage in payola. In November 2024, New York radio deejay FunkMaster Flex

released an alleged pricelist for payola on radio stations: $350,000 for pop radio, $250,000 for



131
   Payola in the music industry remains a top priority for the federal government. For example, in January 2020, the
Federal Communications Commission sent a letter to three music companies, including Universal Music Group,
seeking prompt information regarding each company’s practices to prevent payola, any payola violations, and
arrangements for promoting music on the radio. Letter from Comm’r of Fed. Comm. Comm’n to Sony Music Ent.,
Warner Music Grp. & Universal Music Grp. (Jan. 16, 2020), https://docs.fcc.gov/public/attachments/DOC-
361998A1.pdf [https://perma.cc/5CH4-R2GL].
132
      Jeff Leeds, Universal Music Settles Big Payola Case, N.Y. Times (May 12, 2006),
https://www.nytimes.com/2006/05/12/business/12payola.html?smid=url-share
[https://web.archive.org/web/20240131004539/https://www.nytimes.com/2006/05/12/business/12payola.html].
133
        Universal    Music     Group   settles    payola   case,   NBC     News    (May               11,    2006),
https://www.nbcnews.com/id/wbna12740147
[https://web.archive.org/web/20220501154735/https://www.nbcnews.com/id/wbna12740147].
134
      Id.
135
    UMG Sued For Fraud, Pollstar (Apr. 28, 2005), https://news.pollstar.com/2005/04/28/umg-sued-for-fraud/
[https://perma.cc/6QH7-T8K2].



                                                        49
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“urban” radio, $100,000 for a mix show, and $3,000 to $5,000 per song for local DJs.136 Other

whistleblowers in the music industry have similarly confirmed the use of widespread payola, with

some claiming to have proof.

            135.   On information and belief, UMG also provided financial incentives to streaming

platforms to promote the Recording. On information and belief, UMG charged Spotify lower than

usual licensing rates for the Recording in exchange for Spotify affirmatively recommending the

Recording to users who are searching for other unrelated songs and artists.137

            136.   Third parties have documented strange recommendations in searches on Spotify.

On July 3, 2024, a user posted a video on X of a man typing “Eminem” into Spotify’s search

engine and the Recording appearing as a suggested search result.138 The user captioned the post,

“It doesn’t matter what you search on Spotify you’ll see ‘Not Like Us’ pop up. Spotify picked

their side, and their algorithm is proof.”139 Other users described similar experiences.140

            137.   Recommended songs, search results, and promoted playlists play a role in

determining which music users will be exposed to and ultimately consume. An article discussing

the harms of payola on music consumers describes that by including songs in suggested playlists,



136
     Funk Flex !!!!! (@funkflex), X (Nov. 26, 2024), https://x.com/funkflex/status/1861538244279836877
[https://perma.cc/EMM7-4LDT]; Demicia Inman, Funkmaster Flex Claims “Drake Is 100% Right” About Payola
Following        Accusations     Against     UMG,         Spotify,      VIBE       (Nov.     27, 2024),
https://www.vibe.com/news/entertainment/funkmaster-flex-drake-right-about-payola-1234954728/
[https://perma.cc/V7AP-Q76N].
137
   Spotify has denied that UMG charged Spotify “licensing rates 30 percent lower than its usual licensing rates,” but
has not made any public statements regarding the veracity of allegations that UMG charged Spotify licensing rates at
some other lower percentage on conferral of financial benefit through some other mechanism. See Spotify USA, Inc.’s
Memorandum of Law in Opposition to Verified Petition, In the Matter of the Application of, FROZEN MOMENTS,
LLC et al., Docket No. 161023/2024 (N.Y. Sup. Ct. Dec. 20, 2024).
138
    Keep6ixsolid (@keep6ixsolid), X (July 3, 2024), https://x.com/keep6ixsolid/status/1808529064673837434
[https://perma.cc/N4GE-NKJC].
139
      Id.
140
              Dom           (@Underrated_Dom),           X              (July         3,                      2024),
https://x.com/Underrated_Dom/status/1808662039352783355?mx=2 [https://perma.cc/4CJV-Y6LD].



                                                        50
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Spotify and other streaming services “represent to the listening public that the song has been

chosen because it is uniquely aligned to that listener’s tastes or the playlist mood, and that the

expert curator has judged the song to possess artistic excellence.”141

            138.   On information and belief, UMG paid to use “bots” to stream the Video.

            139.   On information and belief, UMG employed a similar scheme by paying social

media influencers to promote and endorse the Recording and Video. As just one example, Plaintiff

understands that UMG paid, directly or indirectly, the popular NFR Podcast to promote the

Recording and Video without disclosing the payment. As part of its deal with UMG, the NFR

Podcast publicly published podcast episodes, tweets, and other content about the Recording.

            140.   On information and belief, UMG conferred financial benefits to Apple Inc. to have

its voice-activated digital assistant “Siri” purposely misdirect users requesting other songs to

instead stream the Recording.142 Online sources reported that when users asked Siri to play the

album “Certified Loverboy” by Drake, Siri instead played the Recording.143

                          iii.    UMG Took Other Unprecedented Steps to Promote the
                                  Defamatory Material.

            141.   On May 4, 2024, UMG removed the Recording’s copyright restrictions on

YouTube and Twitch, thereby “whitelisting” the Recording.144 On information and belief, this



141
   Kasi Wautlet, Playlists As Endorsements: An Argument for Continued Payola Regulation in the Internet Age, 76
N.Y.U. ANN. SURV. AM. L. 821, 862 (2021); see also Christine Smith Burton, ‘Playola’ and Fraud on Digital Music
Platforms: Why Legislative Action is Required to Save the Music Streaming Market, 16 J. Bus. & Tech. L. 387, 390-
92 (2021).
142
   See Armon Sadler, Fans Discover Siri Plays Kendrick Lamar’s “Not Like Us” On Spotify When They Ask For
Drake’s ‘Certified Lover Boy’, VIBE (July 11, 2024), https://www.vibe.com/news/entertainment/siri-not-like-us-
spotify-certified-lover-boy-1234895147/ [https://perma.cc/N9Y7-G5BA].
143
      Id.
144
   Lavender Alexandria, Kendrick Lamar Praised for Dropping Copyright Claims on Creators Discussing His New
Songs, Hot New Hip Hop (May 8, 2024), https://www.hotnewhiphop.com/798941-kendrick-lamar-cupyright-claims-
removed-hip-hop-news       [https://web.archive.org/web/20240720095554/https://www.hotnewhiphop.com/798941-
kendrick-lamar-cupyright-claims-removed-hip-hop-news].



                                                       51
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action was directed by Interscope’s Executive Vice President and Head of Digital Marketing

Ramon Alvarez-Smikle. This whitelisting was done purposely and with the full knowledge of

UMG for the purpose of spreading the Recording, and its defamatory content, as broadly as

possible and as quickly as possible.

       142.    UMG has a formal ban on whitelisting and had never before whitelisted a song on

any platform, to Plaintiff’s knowledge. In and around June 2024, UMG reinstituted the copyright

restrictions on the Recording.

       143.    The effect of whitelisting the Recording was massive and immediate. Able to play

the Recording in full in their own videos and to profit from them, content creators rushed to

republish the Recording in “reaction-videos.” As just a few examples:

                  The CartierFamily, whose YouTube channel has 1.44 million subscribers,
                   posted a video depicting the Image and using the Recording.145 As of the date
                   of this filing, the video has 2 million views.




                  Twitch streamer No Life Shaq posted a 14.5-minute clip of his reaction to the
                   Recording on his YouTube channel, which has 4.75 million subscribers.146 As
                   of the date of this filing, the video has 5.3 million views.




145
   CartierFamily (@TheOfficialCartierFamily), KENDRICK LAMAR - Not Like Us (REACTION!!!), YouTube (May
4, 2024), https://www.youtube.com/watch?v=6rsjobIbCtM [https://perma.cc/ESL8-LPYV].
146
   No Life Shaq (@NoLifeShaq), HE MADE A CLUB BANGER DISSTRACK! | KENDRICK LAMAR - Not Like Us
(REACTION!!!),       YouTube    (May   4,   2024),  https://www.youtube.com/watch?v=Nyk1cTp7YUw
[https://perma.cc/R6VL-A5UY].



                                                 52
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                   Youtuber Zias! posted a 15-minute video of his reaction to the Recording on
                    his YouTube channel, which has 4.94 million subscribers.147 As of the date of
                    this filing, the video has 6.6 million views.

                   On May 5, 2024, Twitch streamer RDC Gaming posted his reaction by
                    depicting the Image and using the Recording.148 As of the date of this filing,
                    the video has over 4.5 million views.




                   Twitch streamer Kai Cenat posted a 20-minute video of his reaction to the
                    Recording on his YouTube channel, which has 11.6 million subscribers.149 The
                    video’s thumbnail depicts the Image. As of the date of this filing, the video has
                    over 9 million views.




        144.    These content creators could not have legally republished the Defamatory Material

in full or profited from their reaction videos without UMG first whitelisting the Recording.




147
    ZIAS! (@zias7937), KENDRICK LAMAR - NOT LIKE US REACTION, YouTube (May 5, 2024),
https://www.youtube.com/watch?v=gNBE0Mcsp9k [https://perma.cc/JZ77-6KHZ].
148
    RDC Live (@RDCLive1), RDC Reacts to Kendrick Lamar - Not Like Us, YouTube (May 5, 2024),
https://www.youtube.com/watch?v=0Kb4xLyPYgw [https://perma.cc/8LAD-7UPU].
149
   Kai Cenat Live (@KaiCenatLive), Kai Cenat Reacts to Kendrick Lamar - Not Like Us, YouTube (May 6, 2024),
https://www.youtube.com/watch?v=iVelBKQvzx4&t=1s [https://perma.cc/9PX8-7GBR].



                                                    53
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            145.   On information and belief, UMG also paid influencers on Instagram and X to post

content about the Defamatory Material for the purpose of spreading the content to larger audiences.

                   E.     UMG’s Media Campaign Successfully Spreads the Defamatory
                          Material to Billions.

            146.   UMG’s campaign to spread the Defamatory Material was successful. On May 4,

2024, the Recording set a new record for the most single-day streams for a rap song in the U.S.—

13 million in 24 hours.150 Within the first week, the Recording debuted at No. 1 on the Billboard

Hot 100 list, with 70.9 million official streams and 5 million radio airplay audience impressions.151

Just one week later, the Recording broke the record for the most streamed song in a 7-day period—

96 million streams.152

            147.   After UMG published the Video, the Recording returned to the No. 1 spot on the

Billboard Hot 100.153 In the week after the Video’s publication, the Recording was streamed an

additional 53.8 million times and played on the radio an additional 40 million times.154 And from

July 4 to August 8, 2024, the Video ranked first on YouTube’s Weekly Top Music Videos chart.155




150
   Perrin Kapur, Kendrick Lamar’s ‘Not Like Us’: All records broken so far, Sportskeeda (May 15, 2024),
https://www.sportskeeda.com/us/music/kendrick-lamar-s-not-like-us-all-records-broken-far
[https://web.archive.org/web/20240612184633/https://www.sportskeeda.com/us/music/kendrick-lamar-s-not-like-
us-all-records-broken-far].
151
    Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Blasts In at No. 1 on Billboard Hot 100, Billboard (May 13, 2024),
https://www.billboard.com/lists/kendrick-lamar-not-like-us-hot-100-number-one-debut/not-like-us-no-1/
[https://perma.cc/TLZ3-M2EY].
152
    Cedric Thorton, Kendrick Lamar’s ‘Not Like Us’ Breaks Streaming Record, Passes Cardi B and Taylor Swift,
Black Enterprise (May 16, 2024), https://www.blackenterprise.com/kendrick-lamar-not-like-us-streaming-record/
[https://perma.cc/3PU3-WPDD].
153
    Gary Trust, Kendrick Lamar’s ‘Not Like Us’ Returns to No. 1 on Billboard Hot 100, Billboard (July 15, 2024),
https://www.billboard.com/lists/kendrick-lamar-not-like-us-number-one-second-week-hot-100/
[https://perma.cc/8S56-42CT].
154
      Id.
155
          Weekly       Top       Music      Videos,      YouTube         Charts  (Aug.           22,      2024),
https://charts.youtube.com/charts/TopVideos/us/weekly [https://perma.cc/ALX7-ZVDS].



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On August 6, 2024, the Video earned an MTV Video Music Award nomination for Song of the

Year.156

        148.     The Recording has maintained its popularity in the months since. On October 7,

2024, Billboard reported that the Recording had reached “45.4 million in total audience

impressions” on radio with “15 nonconsecutive weeks in charge of the R&B/Hip-Hop Airplay

list.”157 And the Recording remains a “Top 40” hit on New York-based stations Z100 and Power

105.1.158

        149.     Rolling Stone reflected that “with its catchy beat and incendiary lyrics labeling

Drake a pedophile, Kendrick Lamar’s latest hit is arguably the biggest moment in music this year”

and described the “vicious Drake diss” as “inescapable.”159 Pitchfork called the lyric “Certified

Lover Boy? Certified pedophiles” the “defining lyric of the decade so far.”160

        150.     The Defamatory Material has become ubiquitous—not just in the rap community,

but in the community at large. It has been heard and/or viewed nearly 6 billion times.




156
   Demicia Inman, Kendrick Lamar’s “Not Like Us” Nominated for Song of the Year at 2024 VMAs, VIBE (Aug. 6,
2024),                   https://www.vibe.com/news/events/2024-vma-nominations-kendrick-lamar-1234903011/
[https://perma.cc/R5YR-NUFX].
157
   Trevor Anderson, Kendrick Lamar’s ‘Not Like Us’ Breaks Record for Most Weeks at No. 1 on Hot Rap Songs
Chart, Billboard (Oct. 7, 2024), https://www.billboard.com/music/chart-beat/kendrick-lamar-not-like-us-number-1-
record-rap-songs-chart-1235794635/ [https://perma.cc/4XBV-SUQG].
158
   As of Jan. 4, 2025, the Recording has spent at least 24 weeks on the city’s top radio stations’ Top 40 charts. See
TOP 40 – January 4, 2025, z100 NY (Jan. 4, 2025), https://z100.iheart.com/charts/top-40-238/january-4-2025/
[https://web.archive.org/web/20250111163459/https://z100.iheart.com/charts/top-40-238/january-4-2025/]; Top 40 –
January 4, 2025, Power 105.1 (Jan. 4, 2025), https://power1051.iheart.com/charts/top-40-238/january-4-2025/ (last
visited Jan. 14, 2025); TOP 40 - November 16, 2024, Power 105.1 (Nov. 16, 2024),
https://power1051.iheart.com/charts/top-40-238/november-16-2024/ [https://perma.cc/6Y4W-Y3L2].
159
    Ethan Millman, What’s the Song of the Summer? Let’s Do the Math, Rolling Stone (July 28, 2024),
https://www.rollingstone.com/music/music-lists/song-of-the-summer-1235061379/charli-xcx-360-1235063506/
[https://perma.cc/79AH-KT63] (emphasis added).
160
    The 100 Best Songs of the 2020s So Far, Pitchfork (Sept. 30, 2024), https://pitchfork.com/features/lists-and-
guides/the-100-best-songs-of-the-2020s-so-far/
[https://web.archive.org/web/20250111164915/https://pitchfork.com/features/lists-and-guides/the-100-best-songs-
of-the-2020s-so-far/].



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        151.    As just a few examples of the content’s broad reach, Joe Rogan discussed the

Recording and allegations against Drake on his hugely popular podcast “The Joe Rogan

Experience”161 (with 14.5 million followers on Spotify alone as of March 2024)162 as did NPR’s

podcast “Pop Culture Happy Hour.”163

        152.    With every play, stream, listen, view, and mention, UMG has profited.

        UMG PROMOTED THE DEFAMATORY MATERIAL WITH KNOWLEDGE OF
        OR RECKLESS DISREGARD FOR ITS FALSITY AND KNOWLEDGE THAT IT
             WAS REASONABLY FORESEEABLE TO CAUSE DRAKE HARM

        153.    Just as UMG knew that the allegations in the Defamatory Material were false at the

time it first published the Recording, Image, and Video, see supra ¶¶ 88–94, UMG knew the

allegations were false throughout its months-long campaign to promote the material, which

continues through the date of this Complaint. UMG also promoted the Defamatory Material with

full knowledge that Drake had already suffered significant harm and that additional harm to Drake

was reasonably foreseeable.

        154.    UMG’s relentless promotional campaign is more egregious in light of the fact that

Drake has specifically informed UMG, repeatedly, of the falsity of the allegations and the harm he

is suffering as a result.

        155.    On July 24, 2024, Drake (via counsel) sent a letter to Universal Music’s General

Counsel and Head of Litigation about the Recording, which explained that the Defamatory

Material “falsely accused” Drake “of engaging in criminal acts, including sex trafficking,



161
       #2146     –    Deric    Poston,   The   Joe  Rogan      Experience,   Spotify  (May   7,    2024),
https://open.spotify.com/episode/6grygvRaF8UnhlXXpIdxPf [https://perma.cc/G2QV-CZ4B].
162
     Ashley Carman, Spotify Reveals Joe Rogan’s Podcast Numbers, Bloomberg (Mar. 21, 2024),
https://www.bloomberg.com/news/newsletters/2024-03-21/spotify-reveals-podcast-numbers-for-joe-rogan-alex-
cooper-travis-kelce [https://perma.cc/F9P2-SSE6].
163
     Pop Culture Happy Hour, We process the explosive Drake-Kendrick beef, NPR (May 9, 2024),
https://www.npr.org/transcripts/1197964460 [https://perma.cc/JK9R-RGED].



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pedophilia, and/or other acts that would require registering as a sex offender.” The letter made

clear that UMG’s actions were causing Drake concrete and substantial harm and specifically

referenced the armed attack on Drake’s Toronto house on May 7, 2024. The letter demanded

UMG preserve its records in the event litigation was necessary, and cautioned that “UMG’s

involvement in perpetuating a false, inflammatory, and dangerous conspiracy theory about one of

its own artists is shocking, and tortious under a variety of laws of both Canada and the United

States.”

           156.     Following a telephone call between counsel for the parties on July 31, 2024, UMG

sent a letter to Drake’s representatives, in which UMG represented that it understood its

preservation obligations and warned that it “would be improvident” of Drake “to pursue these

claims against UMG.”

           157.     On August 1, 2024, Drake sent UMG another letter again emphasizing the harm to

Drake, as well as his businesses, that UMG was causing by continuing to promote the Defamatory

Material. The letter demanded UMG issue a retraction and accept its responsibility in promoting

and marketing the Defamatory Material.

           158.     UMG’s actions did not change. After receiving two notices from Drake about the

falsity of the allegations and a description of the severe harm he suffered as a result, UMG took

no steps to address the matter. To the contrary, UMG continued to promote and license the

Defamatory Material, including through numerous social media posts boasting of the Recording’s

success, and negotiating and paying for the Recording to be nominated at the 2025 Grammys and

played at the Super Bowl.164




164
      See supra ¶¶ 106–108, 125.



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            159.    Throughout the summer and fall, Drake attempted to resolve these claims privately

with UMG without resorting to litigation. UMG’s own Code of Conduct required corrective action

on UMG’s part—that code states that UMG is “committed to a nonviolent workplace,” and that

“[h]arassment can take different forms, such as . . . speech that is threatening or abusive.”165 In its

workplace, UMG prioritizes “[a]voiding abusive conduct, including verbal abuse and physical

conduct that another person would find threatening or humiliating.”166 In his introductory

comments to that Code of Conduct, Sir Grainge observes that integrity “means behaving honorably

and with honesty. It means setting the right tone—in all that we do. We are accountable for the

decisions we make and how we conduct ourselves.”167 Drake expected that UMG would live by

its own principles in responding to the abusive conduct, threats, and violence he had experienced.

            160.    Yet, after weeks of delay, UMG declined to do anything to assist Drake, including

even going so far as refusing to agree to mediate with Drake. UMG instead insisted that it bore

no responsibility for the harm Drake had suffered, and represented that if Drake sued UMG, UMG

would respond by bringing claims against Kendrick Lamar, and intimated that Drake would face

public ridicule for the perception that he had sued another rapper.

            161.    At no point during any of these discussions did UMG ever suggest that it believed

the allegations against Drake to be truthful or accurate.

            162.    As of the date of this filing, UMG continues to promote and license the Defamatory

Material notwithstanding its plain knowledge of both the falsity and concrete harm to Drake. As

of the date of this filing, UMG has not retracted any of the Defamatory Material or issued any




165
      Universal Music Group, Our Code of Conduct, supra note 18, at 10-11.
166
      Id.
167
      Id. at 2.



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statements disclaiming the veracity of the Defamatory Material or apologizing to Drake for the

harm it has caused.

          163.    UMG’s actions are motivated, at least in part, by UMG’s desire to best position

itself in negotiations with Kendrick Lamar in 2024 and Drake in 2025. With respect to Lamar, on

information and belief, UMG was incentivized to prove that it could maximize Lamar’s sales—by

any means necessary—after only being able to get him to sign a short-term exclusive contract.

UMG wanted Lamar to see its value on an expedited timeframe in order to convince Lamar to re-

sign exclusively and for a longer period of time. As to Drake, in 2024, his contract was nearing

fulfillment. On information and belief, UMG anticipated that extending Drake’s contract would

come at a high cost to UMG; as such, it was incentivized to devalue Drake’s music and brand in

order to gain leverage in negotiations for an extension.

          164.    UMG’s actions were also motivated by its executive incentive structure, which

rewards Interscope executives, like Mr. Janick, for surpassing their division’s annual projections,

even if that success has a detrimental effect on an artist from another division, like Drake from

Republic, and/or UMG overall.

          165.    On information and belief, Mr. Janick further was motivated to surpass Interscope’s

2024 annual goals at the expense of Republic and Drake to position himself to be named as Sir

Grainge’s successor, a position for which Mr. Monte Lipman of Republic is also being considered.

                 UMG CAUSED DRAKE SUBSTANTIAL HARM BY PUBLISHING AND
                        PROMOTING THE DEFAMATORY MATERIAL

          166.    UMG published or took part in publishing statements that assert or imply that Drake

is a sex offender, pedophile, and sex trafficker, and engages in other sexual criminal acts that

would require him to register as a sex offender. These claims are false and constitute defamation

per se.



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                     A.        Members of the Public Believe and Repeat the False Allegations.

            167.     Members of the public have taken the allegations in the Defamatory Material to be

statements of fact, even after Drake’s public and private denials.

            168.     On April 30, 2024, less than a week before the release of the Recording, UMG

released another song by Kendrick Lamar (“Euphoria”) that threatened that he “won’t tell truths

’bout” Drake if Drake “don’t tell no lie about me,”168 and ominously stated that he “know some

shit” about Drake.169 To the reasonable listener, any future allegations levied by Lamar against

Drake would be based in “truth” and undisclosed fact, not rumor or opinion.

            169.     Immediately after the release of the Recording and Image, people all over the

internet began repeating the allegations against Drake, believing them to be statements of fact.

These posts number in at least the hundreds of thousands.

            170.     As one user put it: “This isnt a diss, it’s the truth. The culture isnt just not fw

[fucking with] with Drake, its correcting itself by kicking out these predators (Drake, Diddy

etc).”170 Another user wrote that the Recording is “telling the truth” about Drake being a “pedo.”171

            171.     Other users echoed the same:

                           “Drake has more than 800k dislikes on that song cuz everybody believe
                            he loves touching children cuz we have evidence everywhere;”172


168
      Kendrick Lamar (@kendricklamar), Euphoria, at 00:51-00:54, YouTube               (Apr.   30,   2024),
https://www.youtube.com/watch?v=NPqDIwWMtxg [https://perma.cc/E5NC-JC9B].
169
      Id. at 03:02-03:05.
170
    User @mrright8439, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(July 4, 2024), https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugye0CflEuIQFc1WdCx4AaABAg
[https://perma.cc/Q2SH-PR7Q] (emphasis added).
171
    User @kaioken8026, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 11, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugx23-NZg6eB0Hspdt14AaABAg
[https://perma.cc/39F6-26RR].
172
   User @itzmglo892, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
7,                            2024),                              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=Ugz5w9YjkanJST3x9KN4AaABAg.A37cQ9A2ziqA37jeqR4n-q                 [https://perma.cc/3LRV-FNB6]
(emphasis added).



                                                       60
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                   “I LOVE THIS SONG‼ We would have never known Drake is a
                    whole pedophile if this information wasn’t exposed!;”173

                   “Respect and love you Kendrick for keeping it [100 emoji]. From your
                    tone, anger, and passion behind your words there is no doubt on my
                    end that Drake is indeed a pedophile;”174 and

                   “Kendrick just exposed drake of running with pedos n sex offenders. [I
                    don’t know,] I don’t think Kendrick is dumb to make false
                    accusations, I don’t wanna assume without proof but shi ain’t looking
                    good for drake. Like I feel like he still holding some shi back and ain’t
                    sayin everything he knows bout drake.”175

        172.    Many people reacted to the Image, which depicts Drake’s Toronto residence and

13 sexual predator icons. One user asked: “who are the 13 pedophiles at Park Lane Circle??

[eyes wide emoji] [eyes wide emoji]” demonstrating that they believed the Image to be accurately

depicting who lived or spent time in the home.176

        173.    Others reacted similarly to UMG’s initial publication of the Recording and Image

to YouTube:

                   “Just realized the thumbnail is from the sexual predators app;”177




173
  User @ZxZNebula (formerly @pareeshaslaughter6798), Comment, Kendrick Lamar (@kendricklamar), Kendrick
Lamar – Not Like Us, YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxjAPntCJymjhPSKUR4AaABAg [https://perma.cc/ZUW3-6DYQ] (emphasis added).
174
   User @davidkwon1322, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 11, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgwRetHb_AixNVevbUp4AaABAg
[https://perma.cc/72X5-2L9U] (emphasis added).
175
    User @nebula2582, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
5,         2024),      https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugy3GxrXDhB4FrdpL4l4AaABAg
[https://perma.cc/5929-W5MN] (emphasis added).
176
    User @Eagle252, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (July
21,       2024),     https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugw3GlxFm03VtNn8CmB4AaABAg
[https://perma.cc/B5U9-HY44] (emphasis added).
177
   User @mnmsaregood1, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 5, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugx5fmeYbCAsOIjUV1F4AaABAg
[https://perma.cc/F449-K7YE] (emphasis added).



                                                   61
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                   “Omg is that a sex offender map on drakes house;”178

                   “NAH THAT MANY PEDOS IN ONE                                   SPOT       IS
                    CRAZYYYYYYYYY DRAKE CANCELED;”179

                   “Drake housing a bunch of pedos at his house [nervous laughing with
                    sweat emoji];”180

                   “Yoooooo Sex offenders have to register Red means sexual assault
                    against a minor. Drake has 13 of them living in his house?”181 and

                   “Drakes pedo mansion those are the markers used to show pedos that
                    live next to you kids.”182

        174.    People all over the internet also questioned why Drake had not yet been arrested

and called for the police, the FBI, and the Central Intelligence Agency (CIA), as well as Child

Protective Services (CPS), to investigate the statements in the Recording. On comments on

UMG’s initial publications of the Defamatory Material to YouTube, users commented:

                   “The FBI needs to come at this point [laughing emoji];”183




178
  User @pinkengineering (formerly @imcicily), Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar –
Not    Like     Us,      YouTube     (May       5,     2024),     https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzH35b0IFiCS51IHJV4AaABAg [https://perma.cc/V2Z5-CR5F].
179
   User @Geni167, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
5,        2024),     https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugy73wSHQ38O1YYo84x4AaABAg
[https://perma.cc/9KDG-RXJW] (emphasis added).
180
    User @Shakia-mi1og, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May                  17,                 2024),                 https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwMgoIPSKsI516iTF94AaABAg.A3XNv8zVrnZA3XRS50IeSA [https://perma.cc/8NVP-UC9W]
(emphasis added).
181
    User @mothernature5828, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube      (May       6,     2024),    https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgxwdAg-
d_sYmcG_0Id4AaABAg [https://perma.cc/VK97-MP3D] (emphasis added).
182
  User @supersayian193, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May           7,          2024),            https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugy_x-
jK0HeBXZBeHCN4AaABAg.A39CQVU26nfA39Ce8tDLbA [https://perma.cc/265S-BHE2].
183
  User @WrestlingWarrior15, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube          (May           30,           2024),         https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgytLUYzg0IN6HDDkbh4AaABAg [https://perma.cc/WR5J-KX7G].



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                   “The caged owl. Got me truly believing Kendrick know Drake going
                    to prison possibly;”184

                   “hey kendrick don't diss drake it's waste of time just call the cops and
                    snitching drake is pedophille so drake go to jail and you can win bye
                    [thumbs up emoji];”185

                   “Hide your children from Drake;”186

                   “If what kendrick is saying is true, drake needs to be locked up;”187

                   “Drake just need to be locked up;”188

                   “Yo Im about to call Child Proctective Services because this is
                    abuse;”189

                   “Drakes #1 opp is child protected services;”190

                   “At this point, CIA and FBI need to step in;”191 and




184
    User @Leonard_Washington76, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                              (July                        9,                             2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgzEwjZukwgo_GGHnqZ4AaABAg
[https://perma.cc/22TH-TVE6] (emphasis added).
185
   User @naive-u8f, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
6,        2024),     https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzpsCFEw2wNtXO-mH54AaABAg
[https://perma.cc/2X7B-UKHK] (emphasis added).
186
    User @kevinryt4963, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 5, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugwo7YQXyO6bZmAqW754AaABAg
[https://perma.cc/CEU5-EKW5].
187
  User @meowmeow1234meow, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube          (May        5,           2024),          https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyiEogmH8Ko5jqUZfR4AaABAg [https://perma.cc/2ENM-4L28] (emphasis added).
188
   User @saitherabbit, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
9,                              2024),                              https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgyC3ae8cvJNGi_Z7494AaABAg.A3C0TcZ0FxJA3C4-bWM6H- [https://perma.cc/RZ38-GBY9].
189
    User @loverunsdeep6382, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube (May 5, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgxIrboIuH_WN61Qn-
54AaABAg [https://perma.cc/LHU9-KY2E] (emphasis added).
190
    User @Ben10295, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (July
8,        2024),     https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugz30tyV7Su15LLOABN4AaABAg
[https://perma.cc/8MCD-H4AK].
191
  User @NnewidiewiChukwu, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube         (May         17,           2024),          https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwGvIubOjB_ZqaYyF14AaABAg [https://perma.cc/DAE3-KMGJ] (emphasis added).



                                                    63
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                   “I like the step this way step that way are we locked in, I picture drake
                    getting locked behind bars.”192

        175.    Some comments went so far as to specifically reference Drake’s seven-year-old son

by name: “It's scary if what Kendrick said is true about Drake .. mother of Adonis, save your

child;”193 “Adonis gets to play with the trapped kids in Drakes mansion when he does good;”194 “I

don’t think Drake can even attempt to parent Adonis anymore [crying emoji];”195 and in an

especially vile post, “I bet Drake touches Adonis too.”196

        176.    Many posters turned to racial and religious slurs against Drake, who is mixed race

and Jewish. For example, users on YouTube and X commented:

                   “Its drake that pedojewboy;”197

                   “Drakes jew protection pedo team will get him off;”198




192
    User @jthe9eleven11, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 7, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgyDl-LWP-L6cq5HwiB4AaABAg
[https://perma.cc/D66Y-M72Y].
193
   User @Uh-no, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May 8,
2024),                https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugwho8upBcUYyhZj8Zx4AaABAg
[https://perma.cc/G6P2-MNZ8].
194
   User @chillbloc, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
6,         2024),      https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgyWti6FnAy1qD851Tt4AaABAg
[https://perma.cc/X88Y-8WXY].
195
   User @DarthD13, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
8,         2024),     https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzbkuT5VTQlho-wiG94AaABAg
[https://perma.cc/9RQV-DFWQ].
196
    User @a3lzv, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (June 1,
2024),               https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgxtEiWIm99WHc8NKed4AaABAg
[https://perma.cc/EB2G-ZUPN] (emphasis added).
197
   User @drpuffnstuff5672, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May                   8,                  2024),                 https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwUebwBrfII3ODMqqp4AaABAg.A3BSskE0bxYA3BUxB3n0HY [https://perma.cc/5KEM-T7AN]
(emphasis added).
198
   User @user-qk9he7se5w, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 25, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugxr1AwronL0IuGi3fx4AaABAg
[https://perma.cc/AS6V-LEJA].



                                                   64
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                      “I’ll say it..... Them jews are the colonizers.... That’s who Drake
                       represent..... We got to take our music back from those
                       DEVILS.....;”199

                      “On a deeper level they not like us,. Understand Drake is a
                       Kazarian Jew. If you know the history you know that they stole the
                       identity of the true biblical Semitic Israelites ‘US’ and are claiming to
                       be Jewish people today.. So When Kendrick says your not a colleague
                       your a colonizer it goes much deeper than rap.. IYKYK;”200

                      “Stopped by Compton’s Tam’s #21 with the homie for some burgers
                       and to call @Drake a jewish pedophile. You know I had to do it to em
                       #NotLikeUs @kendricklamar Kek shoutout Rosecrans;”201 and

                      “BROOOOO, DRAKE IS A COLOLNIZER BECAUSE HE IS
                       JEWISHHHH.”202

            177.   In a May 10, 2024 recording of the “It’s Been a Minute” show produced by National

Public Radio (NPR), host Brittany Luse discussed the allegations in the Recording with NPR

Music Reporter Sidney Madden and writer Tirhakah Love.203 They understood the Recording to

be linking Drake and his alleged criminal behavior to other famous figures who were revealed to

the public as sexual predators and later convicted for their crimes, such as rapper R. Kelly.204 Ms.

Madden insinuated that the allegations could be true, commenting that so “much dirt has been




199
    User @MrJoeNobody, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(July 5, 2024), https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyR8Ic30DarlLMQ85d4AaABAg
[https://perma.cc/8GV6-BFUK] (emphasis added).
200
   User @rogerhines1779, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(July 8, 2024), https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyW_NBCk3_yN75K9Cl4AaABAg
[https://perma.cc/E7VW-C3QU] (emphasis added).
201
        spico   blanco     2    electric   boogaloo   (@Cassius28865223),      X   (Aug.             4,    2024),
https://x.com/Cassius28865223/status/1820261511685881932 [https://perma.cc/C2NN-WA9B].
202
   User @CamLo-c9t, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (July
12,         2024),       https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyJ0puH2rTCo7sfZil4AaABAg
[https://perma.cc/TJ3Z-S2KY] (emphasis added).
203
   Drake and Kendrick are beefing, but who pays? Plus, moms as our social safety net, It’s Been a Minute, NPR (May
10, 2024), https://www.npr.org/transcripts/1197956376?ft=nprml&amp;f=1197956376 [https://perma.cc/T8H2-
5F59].
204
      Id.



                                                       65
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unearthed.”205 To Love, the allegations rose to the level of warranting an investigation:206 because

while this “sort of behavior” [meaning sexual violence] is “in our faces for a lot of different

industries,” it is unusual for the allegations to come from “contemporaries.”207 The podcast

positioned the Recording as having the potential to be a tipping point for a #MeToo movement in

the world of hip-hop.208

            178.   Luse explicitly asked her guests whether they considered the allegations in the

Recording to be art or “cause for an actual criminal investigation.”209 Ms. Madden answered by

pointing to the trial of rapper Young Thug, who was recently criminally prosecuted in Georgia on

RICO charges, in a case where the prosecution relied heavily on rap lyrics as evidence.210

            179.   Other celebrities have suggested the possible truth of the allegations. During his

set at a May 7, 2024 charity event, actor and comedian Seth Rogen commented on how Drake

must feel now that “people are dancing” to a song that calls him a sexual predator.211 Mr. Rogen

said, “Could you imagine going to a club and seeing a room full of people dancing to a song about

you being a pedophile? Especially if you were one? I don’t know if he is, but if he was, I assume

that’d be a very alarming moment in your life. ‘Oh no, they’re on to me.’”212

            180.   Others compared Drake to infamous people who have actually been charged with

and found guilty of sex crimes. In comments on UMG’s initial publication of the Recording and


205
      Id.
206
      Id.
207
      Id.
208
      Id.
209
      Id.
210
      Id.
211
   Derrick Rossignol, Seth Rogen Pinpoints The Moment Drake Officially Lost the Kendrick Lamar Beef and Marvels
at How Crazy the Whole Thing Is, Uproxx (May 8, 2024), https://uproxx.com/music/seth-rogen-drake-kendrick-
lamar-pedophile/ [https://perma.cc/W9GP-QUUX].
212
      Id.



                                                      66
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Image to YouTube, users commented, “[D]rake is a pedophile and sexual abuser on the level of

Weinstein, Diddy, and Epstein”213 and “people like Drake, [W]einstein and Epstein, using power

and money to humiliate and terrorize and traffic and groom females and children.”214 Commentors

on the Video repeated similar sentiments, such as: “We have an anti-PDF anthem! About time.

No justice for guys like Diddy, Epstein, and Drake and all the victims they cause much less the

Johns.”215 Users characterized Drake of being just another “Hollywood pedo.”216

       181.    Believing the accusations, many listeners also repeated the calls for violence

against Drake from the Defamatory Material. In the comment sections of UMG’s first publication

of the Recording and Video on YouTube, users made threats:

                  “Drake not going to be able to touchdown into Cali going forward.
                   Somebody gonna Biggie Smalls him. Homies out here don’t tolerate
                   pedophilia. Not even joking;”217

                  “Drake better come with secret service-type security if he plans on going
                   through LA. And even then that might not be enough. They ‘Not Like
                   Us’ [laughing emojis];”218 and



213
    User @TheRealRyanMickens, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube (May 8, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzDjAlJPQtrc1E2Eqd4AaABAg
[https://perma.cc/SS4F-Y8DZ].
214
   User @ogekanvas, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (May
12,                           2024),                             https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgxKXmpopglRXFMYsWx4AaABAg.A3K_djsknWrA3L_48a7YKz                      [https://perma.cc/8URW-
9PEH].
215
    User @JacobChavez-pc2cm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                            (July                         7,                           2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyNfScmqWKyAIl9J6F4AaABAg
[https://perma.cc/B9EL-FLRB].
216
    Ace High (@AceHighAlbion), Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                            (July                         20,                            2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgydWMZ9oZUKHgLeirZ4AaABAg
[https://perma.cc/GB25-STV3].
217
    User @photograffito, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 5, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgwhwswcQjXOw7c9t_d4AaABAg
[https://perma.cc/XEH3-KMQH].
218
  User @Thx4everything_117, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube                         (July                           5,                           2024),


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                  “Drake can never go to LA without secret service level security now.”219

       182.    On X, the references to violence continued: “[T]his is one of those situations where

you kinda just gotta kill yourself if you’re drake.”220

       183.    Other commenters reveled in the idea of Drake suffering from sexual assault in

prison: “Even nerds know if you’re messing with kids you don’t do good in jail”221 and

“[E]veryone is dancing to drake being a pedo getting violated in prison.”222




https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzwae5O4LuQwkI5OJ54AaABAg
[https://perma.cc/8Z4J-L3MP].
219
    User @Wilson_Mccartney, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube (July 4, 2024), https://www.youtube.com/watch?v=H58vbez_m4E&lc=Ugzx3XCuiNJxajv-ybp4AaABAg
[https://perma.cc/3D8Z-CUBD].
220
    Kelly (@BoyYeetsWorld), X (June 19, 2024), https://x.com/BoyYeetsWorld/status/1803621362751177097
[https://perma.cc/3JLZ-XTBQ].
221
    User @randomforyoutube3215, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us,
YouTube            (May            7,           2024),          https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgwHQYlQsr1DeR8drm94AaABAg.A377Gd2IUF9A378s0FtOk0 [https://perma.cc/KPK9-SAHX].
222
  User @ImChickenLittle, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May                 8,                  2024),                 https://www.youtube.com/watch?v=T6eK-
2OQtew&lc=UgzukLEOCNlaEbrb_Nd4AaABAg.A39hSm0r_5uA39hf9iwdiv [https://perma.cc/LSV3-7XTV].



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        184.     Belief in the truth of Defamatory Material persisted in direct response to Drake’s

denial of the claims in “The Heart Part 6”:223




        185.     The social media reaction described in Paragraphs 170 to 184 are just a tiny slice

of the public vitriol caused by UMG’s defamation of Drake.

        186.     The spewing of hate against Drake has not been limited to social media. The public

has leveraged multiple other platforms to repeat the lies in the Defamatory Material. For example,




223
    Sultan of SOLana.Wen (@ropexgang), X (May 6, 2024), https://x.com/ropexgang/status/1787590823535673684
[https://perma.cc/W7EU-TG53];       see     also      IAintGonCap         (@IAintGonCap),      X       (May       5,
2024), https://x.com/IAinGonCap/status/1787300175054049618 [https://perma.cc/GT6T-2AYL] (“Kendrick didn’t
lie about anything! You fed misinformation for him to expose you having a Fake Daughter but he still smoked and
broke you down for being into Underage Girls, being addicted to pills,your camp having Sexual Assaults and also you
having gambling problem which are ALL TRUE and One is Subjective the Gambling…Your Spiraling More and The
Fart 6. Ain’t it. #OVHO #MeetTheGrahams.”).



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users have edited the address that appears on Google Maps and Apple Maps at Drake’s Toronto

address to read “pedophile lives here” and “he touches little girls.”

       187.    In the summer of 2024, users updated the description of Drake’s Toronto address

in rideshare applications Uber and Lyft.              Users have edited the address to read

“DRIZZYTOUCHESKIDS,” “Drizzy’sFunTimeChamber,” and “A MINORRRR.”




       188.    Less than a month after UMG published the Recording and Image, author Martin

Vidal published an article titled “The Drake-Kendrick Rap Beef: A Case Study of Mob

Psychology.”224

       189.    Mr. Vidal explains that “mob mentality” is a psychological state that causes people

to abandon nuance, label anyone who defends the accused as being guilty of the same actions of

the accused, reward those who perpetuate their cause, and do bad in the name of doing good, even

when accusations are made without supplying any evidence. Mr. Vidal concludes that the public




224
    Martin Vidal, The Drake-Kendrick Rap Beef: A Case Study of Mob Psychology, Medium (May 24, 2024),
https://medium.com/the-riff/the-drake-kendrick-rap-beef-a-case-study-of-mob-psychology-30d42b46b3a7
[https://perma.cc/6H27-F2ZS].



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reaction to the allegations against Drake were classic mob mentality, citing the shooting and other

trespassing incidents, instances of vandalism at Drake’s OVO stores, and overwhelming negative

public outcry.

            190.    Mr. Vidal explains that this mob mentality is why people can believe the allegations

despite the fact that “Drake has never been accused of inappropriate behavior with a minor (or

something similar, like grooming) by any underage or formerly underage person he’s interacted

with, or their families, or their acquaintances, and just about every alleged victim of such has come

out in defense of Drake.”

            191.    According to Mike Rothschild, an author and expert on conspiracy theories,

accusations of pedophilia are particularly ripe for conspiracies.225 He describes that allegations of

child sexual abuse cause people to “immediately just lose their mind — even if these children

don’t exist” and even “if you just put out the suggestion there, it grabs ahold in a way that is

difficult to dislodge.”226 Mr. Rothschild also notes that social media exacerbates conspiracy

theories because the spread of information, or disinformation, can happen so much more rapidly

than in the analog age.227

                    B.      UMG’s Conduct Caused Drake Reputational, Financial, Physical, and
                            Emotional Harm.

            192.    UMG’s publications have caused Drake reputational, financial, physical, and

emotional harm, and all of these harms were reasonably foreseeable.

            193.    The Economist and YouGov polled Americans about their views of Drake in

August 2023 and in May 2024, shortly after the release of the Recording and Image. Drake’s



225
      Kim, supra note 10.
226
      Id.
227
      Id.



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favorability rating dropped by 11% while his unfavorability rating rose 13%.228 As of May 2024,

Drake was “now less popular in the United States than Joe Biden and Donald Trump.”229

        194.    As a public figure, Drake’s reputation is paramount to his career and is directly

related to his financial success.        UMG’s purposeful spread of the Defamatory Material

unquestionably caused Drake reputational harm. Because of UMG’s defamation, millions of

people all over the world now associate Drake with pedophilia and sexual violence against

children:

                   “Every time I think of Aubrey now I just sing [‘]certified lover boy certified
                    pdfile[’] in my head;”230

                   “Drake may or may not recover from this, but either way shit’s never gonna
                    be the same for him after this song. He can’t escape from it, creepy pedo
                    ass;”231

                   “Dont think his rap career is dead, but enough questions have been asked so
                    there should be notable impact on his career . . . ;”232

                   “What am I suppose to tell my kids when they ask me if these allegations are
                    true? They did not even know Kendrick music well but identified a feeling in
                    [K]endricks music that resonated with there truth. These words are scathing




228
    David Montgomery, Polls show Drake is losing his feud with Kendrick Lamar, YouGov (May 16, 2024),
https://today.yougov.com/politics/articles/49451-polls-show-drake-is-losing-his-feud-with-kendrick-lamar
[https://perma.cc/3D4A-3KG7].
229
    Joe Edwards, Drake Now Less Popular in the US Than Biden, Trump, Newsweek (May 17, 2024),
https://www.newsweek.com/drake-poll-biden-trump-kendrick-lamar-1901745 [https://perma.cc/L4HF-STPN].
230
    User @deelaw, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (July 6,
2024),               https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgysYam8wQR1iF1OOUd4AaABAg
[https://perma.cc/FJL2-HUF4].
231
   User @johnnyrivas2619, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(July     5,   2024),  https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxAJNNJvjl4aiD560B4AaABAg
[https://perma.cc/5XSN-KVFQ] (emphasis added).
232
   User @bg1251, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube (July 6,
2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgyC98eu0JPMQKG_dqN4AaABAg.A5VBBvesZLGA5X
RyIMTpit [https://perma.cc/V2AQ-QT3P] (emphasis added).



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                    to any listener. I got some decision’s to make after this because I can’t play
                    drake in my car with this narrative floating around. Dangerous;”233

                   “I don’t wanna be that guy but I never took Drake seriously, he’s Canadian, he
                    was in Degrassi that stuff makes it hard for me to take him seriously. I thought
                    that’s why Kendrick went after him. Now that it’s more serious than just Drake
                    being fake, I’m like wow if I knew all this I’d hate Drake too. This is check
                    mate for Drake because how exactly do you respond to someone calling you a
                    sociopath, a deadbeat and a pedo? As for KL I just wanna know how he found
                    out some of these things and what took so long to call Drake out;”234 and

                   “This whole thing is beyond brutal at this point. Kendrick must truly fucking
                    hate Drake for some reason. Makes me inevitably think there might be real
                    merit to the pedophile claims. Sorry Drake, Kendrick is literally making
                    me think it. Jesus christ, talk about winning a rap beef [laughing emojis].”235

        195.    This reputational harm caused Drake financial harm in an amount to be proven at

trial. UMG knew or should have known that the statements it published about Drake would cause

substantial harm as the statements are inflammatory, wrongfully impute criminal activity to him,

and damage Drake in his trade. The Defamatory Material has so severely damaged Drake’s

standing in his trade and community that undoing the reputational harm caused would require a

massive, and expensive, corrective campaign. It is not just the fact that the false allegations have

spread to millions around the globe, it is also the intensity with which people believe the allegations

as evidenced by the events of May 7, 2024 and pervasive online commentary. Changing people’s

minds, particularly about deeply held beliefs, takes repeated messaging from trusted sources.




233
    User @Mesquite103, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May 8, 2024), https://www.youtube.com/watch?v=T6eK-2OQtew&lc=Ugx4tw7pScwTmxZRJgJ4AaABAg
[https://perma.cc/9S4Q-RYNE] (emphasis added).
234
   User @miguelzurita3216, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(May        8,         2024),        https://www.youtube.com/watch?v=T6eK-2OQtew&lc=UgzepMW_ZmA-
jpOZ4lp4AaABAg.A39Umhbxa2hA39oO8zdpS7 [https://perma.cc/X89T-2XU6] (emphasis added).
235
    User @11cockrellm, Comment, Kendrick Lamar (@kendricklamar), Kendrick Lamar – Not Like Us, YouTube
(July                                              7,                                            2024),
https://www.youtube.com/watch?v=H58vbez_m4E&lc=UgxIuAXkpmfSycCn6wV4AaABAg.A5XwaGEIEB0A5_
wDJFEk8J [https://perma.cc/VUT8-5875] (emphasis added).



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            196.     UMG knows and understands just how destructive false allegations of participating

in criminal sex acts against minors can be. When UMG and Sir Grainge were accused of aiding

and abetting P. Diddy’s criminal sex acts in 2024, they moved to dismiss the complaint and called

the accusations “offensively false allegations of criminal behavior” that would be “libelous per se”

if not contained within a legal filing236 and “knowingly and maliciously false and defamatory.”237

            197.     In Sir Grainge’s words, “a single lie can destroy a reputation of integrity and that

while it takes years to build a reputation, it can be ruined in five minutes.”238

            198.     UMG’s conduct has also caused Drake physical and emotional harm. UMG’s

publication was the proximate cause of the violence against Drake in early May. Following this

violence, Drake made lasting changes to his life, including increasing security for himself and his

family anywhere they go. The threat of violence continues to weigh on Drake. With respect to

his family, Drake temporarily took his son out of school and away from the Toronto area (along

with Drake’s mother) for security concerns. And to this day Drake experiences anxiety worrying

about the physical safety of his seven-year-old son and mother.

                   UMG DECEIVED THE PUBLIC AND CAUSED DRAKE HARM

            199.     UMG’s deceptive business practices, including providing undisclosed financial

benefits to third parties to promote the Defamatory Material, were consumer oriented, deceived

the public, and caused Drake financial harm.

            200.     As described above, UMG knowingly provided covert financial benefits to third

parties, including to use bots to stream the Recording. UMG then knowingly promoted the success




236
      Declaration of Donald S. Zakarin, supra note 12, at ¶ 3.
237
      Declaration of Sir Lucian Grainge, supra note 14, at ¶ 24.
238
      Id.



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of the Recording and Defamatory Material, and used that success to leverage more sales and deals.

UMG never disclosed these payments to consumers.

           201.     These covert tactics caused Drake harm.        Stream manipulation, like UMG’s

purchase of fake streams on Spotify and other platforms, harms the artists, like Drake, who collect

royalties through legitimate streams because when there is “a sharp increase in the number of

streams recorded on a platform, without a proportional increase in the number of paying

subscribers,” there is a “drop in the unit value of a stream and therefore a drop in the amount of

royalties paid to rights-holders.”239 Additionally, streaming platforms, like Spotify, use streaming

data to proportionally allocate and disperse payments, which means streaming fraud diverts funds

from artists whose songs are legitimately streamed by real consumers to those who use automation

to falsely create the appearance of legitimate streaming.240

                                              FIRST CLAIM
                                       (Defamation/Defamation Per Se)

           202.     Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.

           203.     Plaintiff is a public figure.

           204.     UMG published, caused the publication of, participated in the publication of, and/or

reasonably could have foreseen that its actions would result in the publication of a series of false

and defamatory statements of fact about Plaintiff, including by and through its agents, making the

statements itself, and republishing the statements on its websites and social media accounts, as

detailed extensively above. As a reasonably foreseeable—and intended—result of Defendant’s

statements and actions, others repeated and amplified these false and defamatory statements.


239
      Stream Manipulation, supra note 129, at 12.
240
      See Burton, supra note 141, at 390-92.



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       205.      UMG intentionally made false implications through the false statements. The

defamatory meanings of Defendant’s false and implied statements of fact are apparent from the

face of the publications, refer to Drake by name, often are accompanied by images of symbols,

items, places, and other depictions known to be associated with Drake, and/or are reasonably

understood to be about him.

       206.      The statements UMG published about Drake are reasonably understood to state or

imply that he:

                        a.     has a history of engaging in and continues to engage in pedophilia
                               and sexual relations with minors;

                        b.     engages in other sexual criminal acts, including sex trafficking;

                        c.     is a sex offender or engages in acts that would require him to be
                               registered as a sex offender; and

                        d.     harbors in his home individuals who are sex offenders or engage in
                               acts that would require them to be registered as sex offenders.

       207.      These statements and implications are false and defamatory per se in that they

impute criminal activity punishable by law and damage Drake in his trade, office, or profession.

       208.      UMG published these false statements with actual malice, i.e., with knowledge of

their falsity or with reckless disregard as to their truth. UMG knew or should have known that the

defamatory statements—all of which are verifiable—were and are false. UMG failed to assess or

investigate the falsity of the defamatory statements despite inherent improbability and obvious

reasons to doubt the veracity of the statements. Drake also made a public statement about their

falsity and repeatedly informed UMG of the same privately.

       209.      UMG had no basis on which to believe that the allegations were true, and indeed

knew them to be false given UMG’s longstanding contractual relationship with Drake, and

continued to publish the allegations after learning Drake had disavowed the statements.



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          210.   UMG published the allegations, including by its publication of the misleading

Image and other conduct described herein, in a manner to create false inferences.

          211.   UMG had financial motives for promoting the Defamatory Material.

          212.   UMG endorsed and adopted the false allegations as its own, publishing and

republishing, or causing to publish and republish, the false allegations for months with full

knowledge of their falsity or reckless disregard for their truth.

          213.   UMG had no applicable privilege or legal authorization to make these false and

defamatory statements.

          214.   UMG published these statements so that they were heard, viewed, or read billions

of times around the world.

          215.   UMG’s statements damaged Drake’s reputation in the general public, in his

profession, in his personal life, in his neighborhood, and with friends, relatives, and neighbors.

          216.   As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

impairment of reputation and standing in the community and in his profession, personal

humiliation, mental anguish and suffering, emotional distress, stress, anxiety, lost earnings, and

other pecuniary loss.

          217.   UMG was aware of the ongoing harm Drake was experiencing, including because

of news reports of the armed attack on his Toronto residence and Drake’s private communications

with UMG.

                                       SECOND CLAIM
                                (Harassment in the Second Degree)

          218.   Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.



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          219.    UMG engaged in a course of conduct and repeatedly committed acts which alarm

and seriously annoy Plaintiff. UMG published, promoted, and profited from a coordinated

campaign to smear, threaten, and discredit Plaintiff despite Plaintiff’s protests. Further, UMG has

placed Plaintiff in reasonable fear of physical harm. UMG published explicit threats and calls for

violence against Drake.

          220.    The Defamatory Material individually and collectively provide a call to violence

against Plaintiff. UMG has continued a course of conduct to promote these publications online

and on radio airwaves and through public events and further licensing of the Recording. UMG

has done so despite being a major business partner of Drake, having knowledge of physical

violence and threats at Drake’s home, and being aware of Drake’s public and private denials of

the statements.

          221.    UMG’s course of conduct in publishing specific and unequivocal threats of

violence has placed Plaintiff in a reasonable fear of physical harm. Plaintiff’s security guard was

taken to the hospital with serious injuries after a shooting.

          222.    While its initial motive was financial, UMG lost any legitimate purpose to continue

its course of conduct in the face of Drake’s public and private denials.

          223.    As a direct and proximate result of Defendant’s conduct, Drake has suffered

significant general, actual, consequential, and special damages including, without limitation,

mental anguish and suffering, emotional distress, stress, anxiety, and costs related to his increased

security.

                                         THIRD CLAIM
                     (Violation of the New York General Business Law § 349)

          224.    Plaintiff incorporates and re-alleges all preceding paragraphs as if fully set forth

herein.



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       225.    Plaintiff is “person” within the meaning of N.Y. Gen. Bus. Law § 349(h).

       226.    Defendant is a “person, firm, corporation, or association” within the meaning of

N.Y. Gen. Bus. Law § 349(b).

       227.    Defendant engaged in deceptive acts and practices in the conduct of business, trade,

and commerce by covertly financially incentivizing third parties to play, stream, and promote the

Recording and then by making materially false and misleading representations of the Recording’s

popularity to consumers.

       228.    UMG paid at least one third party to use bots to stream the Recording on Spotify.

UMG then touted the Recording’s number of streams on Spotify while knowing that at least 30

million of those streams were false and fraudulent.

       229.    UMG also paid at least one radio promoter to engage in pay-for-play of the

Recording on New York radio stations. UMG then marketed the Recording as “chart-topping”

despite knowing that it had paid third parties, including radio stations, to play and promote the

Recording.

       230.    A reasonable consumer of music would be materially misled by these deceptive

acts and practices.

       231.    These deceptive acts and practices were consumer-oriented because they were

directed and disseminated to the general music-consuming public and marketplace and had a broad

impact on music consumers at large.

       232.    These alleged deceptive acts and practices occurred (at least in part) in the state of

New York.

       233.    Plaintiff was injured as a direct and proximate result of Defendant’s deceptive acts

and practices on streaming platforms because each time the Recording was artificially streamed,




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Drake’s songs received a disproportionate share from the pool of royalties collected based on the

streaming data.

       234.       Plaintiff was separately injured as a direct and proximate result of Defendant’s

deceptive acts and practices in the radio industry because every time the Recording was played,

Drake lost the opportunity for one of his songs to be played.

       235.       By reason of the foregoing, UMG’s conduct, as alleged herein, constitutes

deceptive acts and practices in violation of Section 349 of the New York General Business Law,

and UMG is liable to Plaintiff for the actual damages that he has suffered as a result of Defendant’s

actions, the amount of such damages to be determined at trial, plus treble damages, and attorneys’

fees and costs.

       236.       Plaintiff further demands injunctive relief enjoining Defendant from continuing to

engage in, use, or employ any act, including false statements of the Recording’s success or other

representations, prohibited by Section 349 of the New York General Business Law.

                                      PRAYER FOR RELIEF

       237.       WHEREFORE, Plaintiff prays for judgment against UMG for each of the causes

of action raised herein. Plaintiff respectfully requests a judgment in his favor against UMG for:

                  a.     Nominal damages;

                  b.     Compensatory damages, including general, actual, consequential, and
                         special damages, in an amount to be determined at trial;

                  c.     Punitive damages;

                  d.     Reasonable and necessary attorneys’ fees;

                  e.     Reasonable and necessary costs of the suit;

                  f.     Prejudgment and post-judgment interest at the highest lawful rates;

                  g.     Declaratory relief stating that the statements published and promoted by
                         UMG and those attributable to UMG as reasonably foreseeable



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                    republications identified within this Complaint, individually and
                    collectively, were and are false;

             h.     Injunctive relief enjoining UMG from making statements about the
                    popularity of the Recording, Image, or Video that it knows to be false based
                    on fake streams or pay-for-play; and

             i.     Such other and further relief as this Court deems just and appropriate.




Dated: January 15, 2025                           Respectfully Submitted,

                                                  By: /s/ Michael J. Gottlieb
                                                  Michael J. Gottlieb
                                                  Meryl C. Governski (pro hac vice
                                                  forthcoming)
                                                  WILLKIE FARR & GALLAGHER LLP
                                                  1875 K Street NW
                                                  Washington, DC 20006
                                                  Tel: (202) 303-1000
                                                  mgottlieb@willkie.com
                                                  mgovernski@willkie.com

                                                  M. Annie Houghton-Larsen
                                                  WILLKIE FARR & GALLAGHER LLP
                                                  787 Seventh Avenue
                                                  New York, NY 10019
                                                  Tel: (212) 728-8000
                                                  mhoughton-larsen@willkie.com




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